                     Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 1 of 53


                                                                                                  Page 1
                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF LOUISIANA

                      IN RE: OIL SPILL                       )    MDL NO. 2179
                      by the OIL RIG,                        )
                      DEEPWATER HORIZON in                   )    SECTION "J"
                      the GULF OF MEXICO,                    )
                      April 20, 2010                         )    JUDGE BARBIER
                                                             )
                                                             )    MAG. JUDGE
                                                             )    SHUSHAN




                                 30(b)(6) deposition of MODUSPEC,
                      through its representative ALAN SCHNEIDER,
                      taken at Pan-American Building, 601 Poydras
                      Street, 11th Floor, New Orleans, Louisiana,
                      70130, on the 23rd of June, 2011.




                                                       OUTSIDE ATTORNEYS EYES ONLY
                                                      PURSUANT TO PROTECTIVE ORDER

Electronically signed by Thu Bui (001-342-307-4549)                                  1d31b166-e277-4956-b19d-72f576a1ae5e
                     Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 2 of 53

                                                              Page 30                                                 Page 32




                                                              Page 31                                                 Page 33
             1                                                           1




         1
                                                                        11      Q. Have you ever been told why, or
                                                                        12   do you understand why Transocean is the
                                                                        13   only customer of ModuSpec which calls for
                                                                        14   reference to its own internal guidelines?
                                                                        15           MR. GORDON:
                                                                        16             Same objection. You may
                                                                        17   answer.
                                                                        18      A. Yes, I am.
                                                                        19      Q. What is the reason or reasons?
                                                                        20      A. Transocean would like a true
                                                                        21   condition assessment of the vessel, the
                                                                        22   bottom line. They want to know the real
                                                                        23   condition of the rig.
                                                                        24      Q. Well, why is it necessary to
                                                                        25   refer to your own internal guidelines in
                                                                                                  9 (Pages 30 to 33)
                                                       OUTSIDE ATTORNEYS EYES ONLY
                                                      PURSUANT TO PROTECTIVE ORDER

Electronically signed by Thu Bui (001-342-307-4549)                                                    1d31b166-e277-4956-b19d-72f576a1ae5e
                     Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 3 of 53

                                                              Page 34                                   Page 36
          1      order to know the true condition?
          2         A. Because they like --
          3             MR. GORDON:
          4               Objection to form. You may
          5      answer.
          6         A. They like an unbiased
          7      facts assessment done. Rather than their
          8      own people, they employ ModuSpec 'cause we
          9      are completely unbiased, and that's the
         10      only reason.




                                                              Page 35                                   Page 37
             1                                                              1




         1                                                              1




                                                                                     10 (Pages 34 to 37)
                                                       OUTSIDE ATTORNEYS EYES ONLY
                                                      PURSUANT TO PROTECTIVE ORDER

Electronically signed by Thu Bui (001-342-307-4549)                                      1d31b166-e277-4956-b19d-72f576a1ae5e
                     Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 4 of 53

                                                             Page 217                                                      Page 219




                                                                        25         A.   Criticality is, the rating is
                                                             Page 218                                                      Page 220
               1                                                            1   critical, major, minor, and basically, it
                                                                            2   -- there's a percentage. So this is --
                                                                            3   according to this one, the DEEPWATER
                                                                            4   HORIZON is better than the Gulf -- other
                                                                            5   rigs in the Gulf of Mexico and rigs
                                                                            6   worldwide of this class in the time.
                                                                            7


           1                                                            1




                                                                                                 55 (Pages 217 to 220)
                                                       OUTSIDE ATTORNEYS EYES ONLY
                                                      PURSUANT TO PROTECTIVE ORDER

Electronically signed by Thu Bui (001-342-307-4549)                                                          1d31b166-e277-4956-b19d-72f576a1ae5e
                     Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 5 of 53

                                                               Page 370                                                 Page 372
           1                                                               1   each rig is unique. Yes, I know these
                                                                           2   safety RSTCs have their own policies to
                                                                           3   follow, but I -- I would always pay
                                                                           4   attention because that's part of my -- part
                                                                           5   of my upbringing, if you know what I mean.
                                                                           6       Q. Did you consider the safety
                                                                           7   orientation and drills of Transocean that
                                                                           8   you were a part of aboard the HORIZON to be
                                                                           9   thorough and professionally conducted?
                                                                          10       A. Yes, I did.
                                                                          11       Q. All right. Did you get oriented
                                                                          12   or were you made aware of a timeout for
                                                                          13   safety policy or stop work, whereby if you
                                                                          14   saw something aboard the rig that was
                                                                          15   unsafe or you felt it caused a hazard to
                                                                          16   either the rig or yourself, someone has the
                                                                          17   ability to stop the process and take a
                                                                          18   timeout to correct it?
                                                                          19           MR. GORDON:
                                                                          20             Objection to form.
                                                                          21       A. I'm -- I'm aware of that.
         22                  What I'd like to do is,                      22       Q. All right. Were you provided
         23      first of all, talk about the procedure from              23   with any orientation on that policy or
         24      when you arrived on the rig.                             24   practice of Transocean? As a third party
         25                  You testified earlier that                   25   coming aboard the Transocean DEEPWATER
                                                               Page 371                                                 Page 373
          1      there was an orientation process --                       1   HORIZON, were you provided with
          2          A. Correct.                                           2   instructions that you could, in fact, take
          3          Q. -- is that correct?                                3   a timeout for safety or had stop work
          4                 And you had been a part of                     4   authority if you saw something that you
          5      the orientation process aboard the HORIZON                5   felt was unsafe?
          6      on two occasions; is that correct?                        6       A. Yes, I could.
          7          A. Correct.                                           7       Q. All right. At any point in time
          8          Q. There was a safety briefing?                       8   during the 10 days while you were aboard
          9          A. Correct.                                           9   the rig performing this invasive assessment
         10          Q. There was a video?                                10   in the areas that we're going to talk about
         11          A. Correct.                                          11   in a moment and those that you have
         12          Q. A rig tour?                                       12   described today, did you ever feel as
         13          A. Correct.                                          13   though you should exercise stop work
         14          Q. Can you characterize the safety                   14   authority or take a timeout for safety
         15      briefing process that you experienced when               15   because of a condition that you felt put
         16      you arrived onboard the HORIZON on those                 16   yourself in harm's way?
         17      two occasions in a qualitative manner?                   17       A. The only thing I -- I do, and I
         18          A. It's what I would expect from --                  18   did, when I come across things that were
         19      I've been on so many Transocean rigs and                 19   unsafe, I do mention it to the Transocean
         20      other rigs around the world, you sometimes               20   team leader, which I did about the
         21      say, why am I doing this again because I                 21   hazardous areas. So he was aware of my
         22      was only on here six months and some rigs                22   concerns.
         23      would go six months apart. So I always                   23       Q. Okay.
         24      get, why am I doing this again. But it's                 24       A. But, yes, we take part in the
         25      to make me aware of my surroundings 'cause               25   stop programs. It's normal. Yes, I am
                                                                                                94 (Pages 370 to 373)
                                                       OUTSIDE ATTORNEYS EYES ONLY
                                                      PURSUANT TO PROTECTIVE ORDER

Electronically signed by Thu Bui (001-342-307-4549)                                                       1d31b166-e277-4956-b19d-72f576a1ae5e
                     Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 6 of 53

                                                             Page 374                                Page 376
          1      aware that I could stop the job, yes.                      1
          2          Q. But I don't want there to be any
          3      confusion in the record that when you
          4      finish that hazardous area assessment, your
          5      concern was such that you advised
          6      Transocean, like you did with the other
          7      conditions you found, correct?
          8          A. That is correct.
          9          Q. But it was not to the point
         10      where you felt like it was a condition that
         11      was -- provided such an eminent danger to
         12      you, the rig or the other persons aboard,
         13      that you went to the company man, the team
         14      leader, wells team leader of BP or the OIM
         15      or their toolpusher and said, time out, we
         16      need to stop what's going on right now and
         17      correct these deficiencies?
         18          A. No, I did not.
         19          Q. And you certainly had that
         20      authority, correct?
         21          A. Yes.




                                                             Page 375                                Page 377
             1                                                              1




         1                                                              1




                                                                                 95 (Pages 374 to 377)
                                                       OUTSIDE ATTORNEYS EYES ONLY
                                                      PURSUANT TO PROTECTIVE ORDER

Electronically signed by Thu Bui (001-342-307-4549)                                    1d31b166-e277-4956-b19d-72f576a1ae5e
                     Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 7 of 53

                                                             Page 414                                                 Page 416
             1                                                           1   questions by counsel for the PSC, I
                                                                         2   believe, insofar as the areas aboard the
                                                                         3   HORIZON that were inspected, it was right
                                                                         4   in line with the Gulf of Mexico statistics
                                                                         5   as well as semi-submersibles statistics as
                                                                         6   a whole, correct? Right at about 60 to
                                                                         7   65 percent?
                                                                         8       A. Yes.
                                                                         9       Q. Then I believe you went through
                                                                        10   the detailed critical rating section of the
                                                                        11   MER report. And as I understand your
                                                                        12   testimony, obviously, the lower the score
                                                                        13   in these areas, the better; is that right?
                                                                        14       A. Yes, correct.
                                                                        15       Q. All right. And in the instance
                                                                        16   of Transocean, would you agree with me that
                                                                        17   Transocean had fewer critical ratings in
                                                                        18   the drilling equipment section?
                                                                        19           MR. VON STERNBERG:
                                                                        20             Object to form.
                                                                        21       Q. Is that right?
                                                                        22       A. At this particular time on this
                                                                        23   particular rig, yes.
                                                                        24       Q. Okay. And the mud system?
                                                                        25       A. Once again, on this particular
                                                             Page 415                                                 Page 417
             1                                                           1   time on this particular system, yes.
                                                                         2      Q. Okay. What's the caveat that
                                                                         3   you're putting on there?
                                                                         4      A. What I'm -- what I'm trying to
                                                                         5   say is, this is a snapshot in time on the
                                                                         6   HORIZON, there and then. That's -- you
                                                                         7   know, I'm -- I'm looking at that.
                                                                         8      Q. Right.
                                                                         9      A. That's what I'm trying to say.
         1                                                              10      Q. And that -- and that snapshot in
                                                                        11   time is then compared to the historical
                                                                        12   results?
                                                                        13      A. Yes.
                                                                        14      Q. That your company maintains?
                                                                        15      A. Yes.
                                                                        16      Q. For rigs in the gulf?
                                                                        17      A. Yes.
         18         Q.              Let's turn to tab 5,                18      Q. As well as worldwide, I presume?
         19      which is exhibit 262, which is the ModuSpec            19      A. Yes, that's correct.
         20      equipment rating report that was done, I               20      Q. In -- in a certain class of
         21      guess, retrospectively. Is that your                   21   rigs, correct?
         22      understanding, it was done after the fact?             22      A. That's correct.
         23         A. Yes.                                             23      Q. Is it fair to say that as a
         24         Q. All right. Now, as I appreciate                  24   result of this MER rating report, the
         25      your testimony earlier in response to -- to            25   HORIZON had a favorable MER rating?
                                                                                            105 (Pages 414 to 417)
                                                       OUTSIDE ATTORNEYS EYES ONLY
                                                      PURSUANT TO PROTECTIVE ORDER

Electronically signed by Thu Bui (001-342-307-4549)                                                     1d31b166-e277-4956-b19d-72f576a1ae5e
                     Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 8 of 53

                                                             Page 418                                Page 420
             1           MS. HANKEY:                                        1
             2             Object as to form.
             3      Q. Or how would you quantify the --
             4   the rating as a whole when you look at the
             5   totality of all areas and all groups?
             6      A. Yes, I would say that.




                                                             Page 419                                Page 421
             1                                                              1




         1                                                              1




                                                                                106 (Pages 418 to 421)
                                                       OUTSIDE ATTORNEYS EYES ONLY
                                                      PURSUANT TO PROTECTIVE ORDER

Electronically signed by Thu Bui (001-342-307-4549)                                    1d31b166-e277-4956-b19d-72f576a1ae5e
Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 9 of 53


                                                                           r




                                                                                                    453

      1
      2
      3                       SIGNATURE PAGE
      4
                          I,         ALAN SCHNEIDER, have
     5    read the foregoing         deposition and hereby
          affix my signature         that same is true and
     6    correct, except as         noted on the correction
          page.
  '7


              ~,D~~
  8
  9
                 ALAN SCHNEIDER
 10
 11
 12
                          THE STATE OF 1~XA S
 13       COUNTY OF      ti'(l-f2(2,S)
 14
                       Before me ~i"/t1n ~ tlo()("'~                 on
 15        this day personally -~ed
          N (','-V"\ c
          \1\\           d '':-v,
                     ~, h,H? ' /      Jmown to me [or
 16       proved to me on the oath of
                                   or through
 17                                    (description of
          identity card or other document)] to be the
 18       person whose name is subscribed to the
          foregoing instrument and acknowledged to me
 19       that he/she executed the same for the
          purposes and consideration therein
 20       expressed.
                      Given y~per my hand ~nd seal of
 21       office this }:y.::s.:.   day of _N~V:,-,~>\"",l,.4:+- _ _ __
          2011.
22
                                                                    KATHRYN EHOUSE
23                                                                My Commission Expires
24                                                                    June 12. 2013

                             NOTARY PUBL I C I U~~~             .....,...................,...."",
25                           THE' STATE OF


                        PURSUANT TO CONFIDENTIALITY ORDER
                   Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 10 of 53
IN RE:   OIL SPIL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                                             Reported by:

PETER AUKE SIERDSMA VOLUME II                                                              February 16, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                                Page 1                                                                 Page 3
                              UNITED STATES DISTRICT COURT                                               1    APPEARANCES (continued):
                               EASTERN DISTRICT OF LOUISIANA                                             2
                                                                                                         3       GODWIN RONQUILLO
                                                                                                                 (By: Donald E. Godwin, Esquire,
                                                                                                         4           R. Alan York, Esquire,
                IN RE: OIL SPILL                                MDL NO. 2179                                         Jenny L. Martinez, Esquire and
                BY THE OIL RIG                                                                           5           Stefanie K. Major, Esquire)
                "DEEPWATER HORIZON"                             SECTION:              J                          1201 Elm Street
                                                                                                         6       Suite 1700
                IN THE GULF OF                                                                                   Dallas, Texas 75270-2041
                MEXICO, ON APRIL                                JUDGE BARBIER                            7         (Attorneys for Halliburton)
                20, 2010                                        MAG. JUDGE SHUSHAN                       8
                                                                                                         9
                                                                                                                 KUCHLER POLK SCHELL WEINER &
                                                                                                         10      RICHARDSON
                                                    VOLUME II                                                    (By: Debora D. Kuchler, Esquire)
                                                                                                         11      1615 Poydras Street
                     30(b)(6) Videotape Deposition of                                                            New Orleans, Louisiana 70112
              PETER AUKE SIERDSMA, taken in the Pan                                                      12        (Attorneys for Anadarko
              American Life Center, Bayou Room, 11th                                                                Petroleum and MOEX Offshore
                                                                                                         13         2007, LLC)
              Floor, 601 Poydras Street, New Orleans,                                                    14
              Louisiana 70130, on Wednesday, February 16,                                                15
              2011.                                                                                              JONES, WALKER, WAECHTER, POITEVENT,
                                                                                                         16      CARRÈRE & DENÈGRE L.L.P.
                                                                                                                 (By: Matthew S. Lejeune, Esquire)
                                                                                                         17      201 St. Charles Avenue
              APPEARANCES:                                                                                       New Orleans, Louisiana 70170-5100
                                                                                                         18        (Attorneys for Weatherford)
                                                                                                         19
                              KIRKLAND & ELLIS LLP                                                       20
                              (By: Paul D. Collier, Esquire and                                                  MORGAN, LEWIS & BOCKIUS LLP
                                                                                                         21      (By: Steven A. Luxton, Esquire)
                                    Emily Dempsey, Esquire)                                                      1111 Pennsylvania Avenue, NW
                              300 North LaSalle                                                          22      Washington, DC 20004-2541
                              Chicago, Illinois 60654                                                              (Attorneys for M-I SWACO)
                                  (Attorneys for BP)                                                     23
                                                                                                         24
                                                                                                         25

                                                                                                Page 2                                                                 Page 4
  1 APPEARANCES (continued):                                                                             1    APPEARANCES (continued):
  2                                                                                                      2
       CUNNINGHAM BOUNDS, LLC                                                                            3       WARE, JACKSON, LEE & CHAMBERS,
  3    (By: Robert T. Cunningham, Esquire,                                                                       L.L.P.
           (Pro Hac Vice))                                                                               4       (By: Dennis Barrow, Esquire)
  4    1601 Dauphin Street                                                                                       America Tower
       Mobile, Alabama 36604                                                                             5       2929 Allen Parkway
  5    (Plaintiff's Steering Committee)
  6                                                                                                              Houston, Texas 77019
       WILLIAMS LAW GROUP, LLC                                                                           6         (Attorneys for Dril-Quip, Inc.)
  7    (By: Conrad S.P. (Duke) Williams,                                                                 7
           III, Esquire)                                                                                 8       BECK, REDDEN & SECREST, L.L.P.
  8    909 Poydras Street                                                                                        (By: David J. Beck, Esquire)
       Suite 1650                                                                                        9       One Houston Center
  9    New Orleans, Louisiana 70112                                                                              1221 McKinney Street
       (Attorneys for MDL plaintiffs)                                                                    10      Suite 4500
 10                                                                                                              Houston, Texas 77010-2010
 11                                                                                                      11        (Attorneys for Cameron
       LISKOW & LEWIS                                                                                               International Corporation)
 12    (By: Don K. Haycraft, Esquire)                                                                    12
       701 Poydras Street                                                                                13
 13    Suite 5000
       New Orleans, Louisiana 70139-5099
                                                                                                                 PREIS & ROY
 14      (Attorneys for BP)
                                                                                                         14      (By: Robert M. Kallam, Esquire)
 15                                                                                                              Versailles Centre
 16                                                                                                      15      102 Versailles Boulevard
       GORDON, GORDON & SCHNAPP, P.C.                                                                            Suite 400
 17    (By: Kenneth E. Gordon, Esquire)                                                                  16      Lafayette, Louisiana 70501
       437 Madison Avenue 39th Floor                                                                               (Attorneys for Transocean)
 18    New York, New York 10022                                                                          17
         (Attorneys for ModuSpec USA,                                                                    18
 19       Inc.)                                                                                                  SUTHERLAND ASBILL & BRENNAN LLP
 20                                                                                                      19      (By: Daniel Johnson, Esquire)
 21                                                                                                              1001 Fannin Street
       U.S. DEPARTMENT OF JUSTICE                                                                        20      Suite 3700
 22    TORTS BRANCH, CIVIL DIVISION
                                                                                                                 Houston, Texas 77002-6760
       (By: Jessica L. McClellan, Esquire)
 23    Post Office Box 14271
                                                                                                         21        (Attorneys for Transocean)
       Washington, D.C. 20044-4271                                                                       22
 24      (Attorneys for the United                                                                       23
          States)                                                                                        24
 25                                                                                                      25


                                                                                                                                                      1 (Pages 1 to 4)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                                      Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                 Board-Certified Court Reporters                                     Facsimile: (504) 525-9109
                                                                                                                                                      91c25e3e-896e-465b-9515-5074ee155083
                   Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 11 of 53
IN RE:   OIL SPIL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                           Reported by:

PETER AUKE SIERDSMA VOLUME II                                                              February 16, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                            Page 113                                              Page 115
   1
                                                                                                        2       Q. In fact, to your knowledge,
                                                                                                        3   Transocean pays ModuSpec for surveys that
                                                                                                        4   are over and above those that are required
                                                                                                        5   by various laws and regulations that apply
                                                                                                        6   to rigs; isn't that true?
                                                                                                        7       A. That is correct.
                                                                                                        8       Q. And that would include the
                                                                                                        9   survey performed on the DEEPWATER HORIZON
 10                                                                                                    10   in April 2010; correct?
                                                                                                       11       A. Yes. That is correct.
                                                                                                       12       Q. That is, the April 2010
                                                                                                       13   DEEPWATER HORIZON, DEEPWATER HORIZON
                                                                                                       14   survey, as far as you know, was not
                                                                                                       15   requested by Transocean and performed by
                                                                                                       16   ModuSpec because some governmental agency
                                                                                                       17   required it; correct?
                                                                                                       18       A. That is correct.
                                                                                                       19       Q. To your knowledge, then, the
                                                                                                       20   April 2010 DEEPWATER HORIZON survey was a
                                                                                                       21   voluntary effort on Transocean's part to
                                                                                                       22   understand the condition of one of its rigs
                                                                                                       23   in order to remedy deficiencies; isn't that
                                                                                                       24   true?
 25                                                                                                    25       A. That's very true, my
                                                                                            Page 114                                              Page 116
                                                                                                       1    understanding.
                                                                                                       2




 10                                                                                                    10




                                                                                                                             29 (Pages 113 to 116)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                         Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                 Board-Certified Court Reporters                     Facsimile: (504) 525-9109
                                                                                                                                    91c25e3e-896e-465b-9515-5074ee155083
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 12 of 53
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                   Reported by:

PAUL A. CHANDLER                                                                               May 4, 2011 JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                        Page 1
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                      Deposition of PAUL A. CHANDLER,
               taken in the Pan American Life Center,
               Bayou Room, 11th Floor, 601 Poydras Street,
               New Orleans, Louisiana 70130, on Wednesday,
               May 4, 2011.



               APPEARANCES:


                                 LIEFF CABRASER HEIMANN & BERNSTEIN,
                                 LLP
                                 (By: Steven E. Fineman, Esquire and
                                       Annika K. Martin, Esquire)
                                 250 Hudson Street
                                 8th Floor
                                 New York, New York 10013-1413
                                     (Plaintiff's Steering Committee)




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                               Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters            Facsimile: (504) 525-9109
                                                                                                                           efad78bd-5cf2-4107-91e6-230b30b50f8f
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 13 of 53
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                            Reported by:

PAUL A. CHANDLER                                                                               May 4, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 318                                              Page 320




                                                                                                       9           You're not aware of anyone at
                                                                                                      10   Anadarko that had any concerns with the
                                                                                                      11   ability of the DEEPWATER HORIZON rig or its
                                                                                                      12   crew to competently and safely drill the
                                                                                                      13   Macondo well; are you?
                                                                                                      14      A. I'm not.
                                                                                                      15      Q. You personally didn't have any
                                                                                                      16   such concerns; correct?
                                                                                                      17      A. I had no such concerns; that's
                                                                                                      18   correct.




                                                                                           Page 319                                              Page 321
   1                                                                                                  1




                                                                                                                          81 (Pages 318 to 321)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                      Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                    Facsimile: (504) 525-9109
                                                                                                                                    efad78bd-5cf2-4107-91e6-230b30b50f8f
Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 14 of 53


           Suggested line for Running Header
                                                                347




     1
     2

     3                    WITNESS'    CERTIFICATE
     4

     5

     6

     7

     8              I,   PAUL A.   CHANDLER,    read or have
     9     had the foregoing testimony read.to me and
    10     hereby certify that it is a true and
    11     correct transcription of my testimony,             with
    12     the exception of any attached'corrections
    13     or changes.
    14
    15

    16

    17

    18

    19                          PAUL A.   CHANDLER
    20

    21
    22

   23
   24

   25

                         GAUDET KAISER, L.L.C.
                     Board-Certified Court Reporters
           Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 15 of 53

                                                      1                                                                     3
             UNITED STATES DISTRICT COURT                  1       A P P E A R A N C E S (Continued)
                                                           2
             EASTERN DISTRICT OF LOUISIANA                 3   APPEARING FOR DRIL-QUIP, INC.:
                                                                Ms. Margaret Bryant
     IN RE: OIL SPILL     ) MDL NO. 2179                   4    WARE, JACKSON, LEE & CHAMBERS
     BY THEOIL RIG      )                                       America Tower, 42nd Floor
                                                           5    2929 Allen Parkway
     "DEEPWATER HORIZON" IN ) SECTION "J"                       Houston, Texas 77019-7101
     THE GULF OF MEXICO, ON )                              6
     APRIL 20, 2010    ) JUDGE BARBIER                     7   APPEARING FOR M-I SWACO:
                                                                Mr. R. Sean Brennan, Sr.
                  ) MAG. JUDGE SHUSHAN                     8    MORGAN, LEWIS & BOCKIUS, LLP
                                                                1000 Louisiana Street, Suite 4200
                                                           9    Houston, Texas 77002-5006
                                                          10   APPEARING FOR HALLIBURTON:
                                                                Mr. Floyd R. Hartley, Jr.
                                                          11    Mr. Timothy Alford
                                                                GODWIN RONQUILLO
                                                          12    1201 Elm Street, Suite 1700
                                                                Dallas, Texas 75270-2041
                                                          13
                                                          14   APPEARING FOR THE UNITED STATES:
                                                                Mr. Scott Cernich
                                                          15    U.S. DEPARTMENT OF JUSTICE
                                                                601 D Street, N.W.
                                                          16    Washington, D. C. 20004
                                                          17
                                                               APPEARING FOR THE STATE OF LOUISIANA:
                                                          18    Mr. Douglas R. Kraus
              Deposition of Dawn Peyton, taken                  Attorneys for Louisiana Attorney General
     at Pan-American Building, 601 Poydras Street,        19    KANNER & WHITELEY
     11th Floor, New Orleans, Louisiana, 70130, on              701 Camp Street
                                                          20    New Orleans, Louisiana 70130-3504
     the 8th day of September, 2011.                      21
                                                               ALSO PRESENT:
                                                          22    Mr. Peter Jennings, Videographer
                                                                Mr. Ray Aguirre, Case Manager
                                                          23    Mr. Danny Damiani, Paralegal
                                                          24
                                                          25

                                                      2                                                                     4
 1         APPEARANCES                                     1              INDEX
 2                                                         2        VIDEOTAPED ORAL DEPOSITION OF
 3   APPEARING FOR THE PLAINTIFFS' STEERING                             DAWN PEYTON
     COMMITTEE:                                            3           SEPTEMBER 8, 2011
 4     Mr. Guy E. Matthews                                 4
       MATTHEWS, LASON & JOHNSON                                                             PAGE
 5     200 Bering Drive, Suite 700                         5   Appearances . . . . . . . . . . . . . . 2
       Houston, Texas 77057-3778                           6   Examination by Mr. Matthews . . . . . . 9
 6                                                             Examination by Ms. Martin . . . . . . . 66
       Ms. Annika K. Martin                                7   Examination by Mr. Cernich . . . . . . . 105
 7     LIEFF CABRASER HEIMANN & BERNSTEIN                      Examination by Mr. Kraus . . . . . . . . 178
       250 Hudson Street, 8th Floor                        8   Examination by Mr. Beffa . . . . . . . . 188
 8     New York, New York 10013-1413                           Examination by Mr. Hartley . . . . . . . 225
 9                                                         9   Examination by Ms. Wilms . . . . . . . . 299
     APPEARING FOR BP, INC.:                              10   Signature and changes . . . . . . . . . 301
10     Mr. Darin T. Beffa                                      Reporter's Certificate . . . . . . . . . 303
       KIRKLAND & ELLIS                                   11
11     333 South Hope Street                              12               EXHIBITS
       Los Angeles, California 90071                      13                            PAGE
12                                                             EXHIBIT NO. 4987 . . . . . . . . . . . . 29
13   APPEARING FOR TRANSOCEAN:                            14     E-mail from Ms. Peyton to
       Ms. Stephany LeGrand                                      Ms. Allbritton, dated 8/5/2009,
14     SUTHERLAND ASBILL & BRENNAN                        15     ANA-MDL-000034816
       1001 Fannin, Suite 3700                            16   EXHIBIT NO. 4988 . . . . . . . . . . . . 31
15     Houston, Texas 77002-6760                                 E-mail chain from Mr. Nikhil to
16                                                        17     Ms. Peyton, dated 8/6/2009,
     APPEARING FOR ANADARKO PETROLEUM COMPANY:                   ANA-MDL-000034456 through 58
17     Ms. Nancy M. Wilms                                 18
       Ms. Jennifer MikeLevine                                 EXHIBIT NO. 4989 . . . . . . . . . . . . 39
18     BINGHAM MCCUTCHEN                                  19     E-mail from Ms. Peyton to Mr. Morris,
       355 South Grand Avenue, Suite 4400                        dated 8/19/2009, ANA-MDL000033885
19     Los Angeles, California 90071-3106                 20     through 925
20                                                        21   EXHIBIT NO. 4990 . . . . . . . . . . . . 42
     APPEARING FOR CAMERON INTERNATIONAL                         E-mail from Mr. Sanders to Mr. Hollek,
21   CORPORATION:                                         22     dated August 21, 2009,
       Mr. Keith Hall                                            APC-HEC1-000003865
22     STONE PIGMAN WALTHER WITTMAN                       23
       546 Carondelet Street                                   EXHIBIT NO. 4991 . . . . . . . . . . . . 43
23     New Orleans, Louisiana 70130-3588                  24     Macondo Prospect, dated Sept. 9, 2009,
24                                                               ANA-MDL-000044080 through 94
25                                                        25

                                                                                                              1 (Pages 1 to 4)
                                       PURSUANT TO CONFIDENTIALITY ORDER
             Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 16 of 53

                                                        57                              59




      5       Q. Have you ever been told or do
      6   you know personally whether or not the
      7   Deepwater Horizon rig crew was incompetent?
      8       MS. WILMS: Objection --
      9       MR. KATZ: Object to the form.
0    10       A. No, I don't -- I don't -- I've
     11   not heard that.




                                                        58




     1




0:
                                                                    15 (Pages 57 to 60)
                            PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 17 of 53

                                                         213                                    215




3:10
3:06




3:10
3:07   1                                                       1




3:10
3:07




3:10
3:07   20       Q. (BY MR. BEFFA) And is it also
       21   true that the operations can be dangerous,
       22   despite all the safety systems?
       23       MS. WILMS: Object to form.
       24       A. I mean, in -- in my opinion,
3:10
3:07   25   that -- that is true.                              25
                                                         214                                    216




3:08
3:11




3:09
3:11   1                                                       1




3:09
3:11




                                                                    for your thinking?
                                                                              54 (Pages 213 to 216)
                               PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 18 of 53

                                                            225                                                     227
                                                                   1   helicopter, but we never stopped. We just
                                                                   2   kept going.
                                                                   3       Q. How long were you over the rig,
                                                                   4   circling it?
3:37
3:39                                                               5       A. Oh, 20 seconds or so.
                                                                   6       Q. Any discussion about the rig
                                                                   7   size, orientation --
                                                                   8       A. No.
                                                                   9       Q. -- condition?
3:38
3:39   1                                                          10       A. No.
                                                                  11       Q. Any discussion about the
                                                                  12   operations on the Deepwater Horizon during
       13       Q. I'm handing you what was marked                13   that helicopter flight?
       14   previously as Exhibit 5028 by counsel for BP.         14       A. No.
3:38
3:39   15   That's the e-mail after the explosion that            15
       16   you sent to your father and husband, right?
       17       A. It is.
       18       Q. Now, in that e-mail you
       19   reference that you flew over the rig the week
3:38
3:39   20   before. Did I understand that correctly?
       21       MS. WILMS: Object to form.
       22       A. You did hear that correctly.
       23       Q. (BY MR. HARTLEY) Okay. Were
       24   you -- did you fly over the rig in a
3:     25   helicopter?
                                                            226                                                     228
        1       A. Yes.
        2       Q. And what was the purpose of that
        3   trip?
        4       A. We actually were going to                       4       Q. (BY MR. HARTLEY) Do you recall
3:38
3:40    5   Independence Hub, which is another asset that          5   during that helicopter trip either before
        6   I work, and you're giving your presentation            6   getting to the Deepwater Horizon or
        7   to the field guys. And so on the way to that           7   afterwards whether was there any discussions
        8   platform we flew over the rig that was                 8   about well integrity or safety concerns on
        9   drilling Macondo.                                      9   the Macondo well?
3:38
3:40   10       Q. When you say "we," who else was                10       A. No.
       11   on that helicopter?
       12       A. Our asset team.
       13       Q. Including Paul Chandler, Alan
       14   O'Donnell?
3:39
3:40   15       A. Yes.
       16       Q. Nick Huch?
       17       A. I don't think Nick was there.
       18       Q. Who else from the asset team was
       19   on the helicopter with you?
3:39
3:40   20       A. It was Glenn Raney, Ben
       21   Manoochehri, Sally Kemp, and then Paul and
       22   Alan. I'm not -- that's all I can recall.
       23       Q. Did you -- did you tour the rig,
       24   circle it?
3:     25       A. We circled around it in the
                                                                                      57 (Pages 225 to 228)
                                PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 19 of 53




                                                                                302

        1                I, DAWN PEYTON, have read the
            foregoing deposition and hereby affix my
        2   signature that same is true and correct,
            except as noted above.
    3

    4



    5                         DAWN PEYTON
    6                         ----'t:?c.k"""-"""'~~=-:....___'.'_'_'7_, J 011
    7

    8

    9

   10

   11

   12

   13

   14

   15
   16

   17

   18

   19

   20

   21

   22

   23

   24

   25



                     PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 20 of 53
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported By:

ROBERT QUITZAU VOL. II                                                                         May 26, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR


                                                                                                                                      Page 360
                                      UNITED STATES DISTRICT COURT

                                    EASTERN DISTRICT OF LOUISIANA



                    IN RE: OIL SPILL BY                                     MDL NO. 2179
                    THE OIL RIG
                    "DEEPWATER HORIZON"                                     SECTION:            J
                    IN THE GULF OF
                    MEXICO, ON APRIL 20,                                    JUDGE BARBIER
                    2010                                                    MAG. JUDGE SHUSHAN




                                                               VOLUME 2



                                      Deposition of ROBERT QUITZAU, 1910

               Driscoll Street, Houston, Texas 77019, taken

               in the Pontchartrain Room, 601 Poydras

               Street, New Orleans, Louisiana 70130, on

               Thursday, May 26, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                 Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters              Facsimile: (504) 525-9109
                                                                                                                             7ffb0a57-1f7e-4faa-8aad-98cd5749994e
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 21 of 53
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported By:

ROBERT QUITZAU VOL. II                                                                         May 26, 2011      DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 401                                                 Page 403
   1                                                                                                  1




 10                                                                                                   10       Q. Did you ever review anything in
                                                                                                      11   your role as the drilling engineer for
                                                                                                      12   Macondo well that alerted you to safety
                                                                                                      13   concerns on the Macondo well?
                                                                                                      14       A. Can you repeat the question?
                                                                                                      15       Q. During the course of -- as the
                                                                                                      16   drilling engineer for the Macondo well,
                                                                                                      17   during the course of your review of material,
                                                                                                      18   as you tracked the Macondo -- the course of
                                                                                                      19   the drilling on the Macondo well, did you see
                                                                                                      20   anything that caused you concern about
                                                                                                      21   safe -- the safety of the operations on the
                                                                                                      22   Macondo well?
                                                                                                      23       MS. WILMS:
                                                                                                      24            Object to form. Go ahead.
 25                                                                                                   25       THE WITNESS:
                                                                                           Page 402                                                 Page 404
                                                                                                      1            I did not.
                                                                                                      2




 10                                                                                                   10




                                                                                                                            12 (Pages 401 to 404)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                        Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters                       Facsimile: (504) 525-9109
                                                                                                                                       7ffb0a57-1f7e-4faa-8aad-98cd5749994e
Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 22 of 53

                                                                       673

  1

  2

  3                       WITNESS' CERTIFICATE
  4

  5                              I have read or have had the
  6     foregoing testimony read to me and hereby
  7     certify that it is a true and cOrrect
  8     transcription of my testimony with the
  ~     exception of any attached corrections or
 10     changes ..
 11

 12

 13

 14

 15

 16

 17     PLEASE INDICATE
 18     () NO CORRECTIONS
 19     (v1 CORRECTIONSi ERRATA SHEET(S) ENCLOSED
 20

 2l

 22                                         DIIECIEOVIED
                                            ...             .
 23                                               SEP 2 2 2011
 24                                                              =.I


 25


                            GAUDET, KAISER, L.L.C.
                         Board-Certified Court Reporters
         Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 23 of 53

                                                           1                                                          3
 1         UNITED STATES DISTRICT COURT                         1   APPEARING FOR TRANSOCEAN:
           EASTERN DISTRICT OF LOUISIANA                        2   Mr. David A. Baay
                                                                    Ms. Stephany LeGrand
 2                                                              3   SUTHERLAND, ASBILL & BRENNAN, LLP
 3   IN RE: OIL SPILL       ) MDL NO. 2179                          1001 Fannin, Suite 3700
     by the OIL RIG,      )                                     4   Houston, Texas 77002
                                                                5
 4   DEEPWATER HORIZON in ) SECTION "J"                             APPEARING FOR HALLIBURTON:
     the GULF OF MEXICO, )                                      6
 5   April 20, 2010     ) JUDGE BARBIER                             Mr. Bruce Bowman
                    )                                           7   Ms. Elisaveta Dolghih
 6                  ) MAG. JUDGE                                    GODWIN RONQUILLO
                                                                8   1201 Elm Street, Suite 1700
                    ) SHUSHAN                                       Dallas, Texas 75270-2041
 7                                                              9
 8                                                             10
 9                                                                  APPEARING FOR THE UNITED STATES:
                                                               11
10                                                                  Mr. David J. Pfeffer
11                                                             12   U.S. DEPARTMENT OF JUSTICE
12                                                                  Civil Division, Torts Branch
13                                                             13   1425 New York Avenue, Northwest, Suite 10100
                                                                    Washington, D.C. 20005
14                                                             14
15                                                             15   APPEARING FOR ANADARKO PETROLEUM COMPANY:
16                                                             16   Mr. Christopher P. Berka
17                                                                  BINGHAM McCUTCHEN
                                                               17   1900 University Avenue
18                                                                  East Palo Alto, California 94303
19              VOLUME 2 OF 2                                  18
20                                                                  Ms. Jordan Ray
21                                                             19   BINGHAM McCUTCHEN
                                                                    355 South Grand Avenue
22     Deposition of WILLIAM LeNORMAND, taken at               20   Suite 4400
     Pan-American Building, 601 Poydras Street,                     Los Angeles, California 90071
23   11th Floor, New Orleans, Louisiana, 70130, on             21
                                                               22
     June 21, 2011.                                            23
24                                                             24
25                                                             25

                                                           2                                                          4
 1         APPEARANCES                                          1   APPEARING FOR MOEX USA AND MOEX OFFSHORE
 2                                                                  2007, LLC
 3   APPEARING FOR THE PLAINTIFFS' STEERING                     2
     COMMITTEE:                                                     Mr. Philip D. Nizialek
 4                                                              3   CARVER, DARDEN, KORETZKY, TESSIER, FINN,
     Mr. Jimmy Williamson
                                                                    BLOSSMAN & AREAUX, LLC
 5   WILLIAMSON & RUSNAK
     4310 Yoakum Boulevard
                                                                4   1100 Poydras, Suite 3100
 6   Houston, Texas 77006-5818                                      New Orleans, Louisiana 70163
 7                                                              5
     APPEARING FOR CAMERON:                                     6   APPEARING FOR WEATHERFORD:
 8                                                              7   Mr. Michael G. Lemoine
     Mr. Eric J.R. Nichols                                          JONES WALKER
 9   BECK, REDDEN & SECREST                                     8   600 Jefferson Street, Suite 1600
     515 Congress, Suite 1750                                       Lafayette, Louisiana 70501
10   Austin, Texas 78701                                        9
11   Mr. William L. Doffermyre                                 10   APPEARING FOR DRIL-QUIP:
     WILLIAMS & CONNOLLY, LLP                                  11   Mr. Tyler Henkel
12   725 Twelfth Street, N.W.                                       WARE, JACKSON, LEE & CHAMBERS
     Washington, D.C. 20005
13
                                                               12   2929 Allen Parkway, 42nd Floor
     Mr. Brad N. Eastman                                            Houston, Texas 77019
14   CAMERON                                                   13
     4646 W. Sam Houston Parkway North                         14   APPEARING ON BEHALF OF M-I SWACO, LLC:
15   Houston, TX 77008                                         15   Mr. Paul E. Krieger
16                                                                  MORGAN LEWIS
     APPEARING FOR THE WITNESS:                                16   1000 Louisiana St., Suite 4000
17                                                                  Houston, TX 77002-5006
     Mr. Collin J. Cox                                         17
18   YETTER COLEMAN, LLP                                       18   ALSO PRESENT:
     909 Fannin, Suite 3600                                         Mr. James Deel - Videographer
19   Houston, Texas 77010                                      19
20
                                                               20   REPORTED BY:
     APPEARING FOR BP, INC.:
21                                                             21       RENE WHITE MOAREFI, CSR, CCR
     Mr. Chris J. Coulson                                               Certified Shorthand Reporter
22   KIRKLAND & ELLIS, LLP                                     22       State of Texas
     300 North LaSalle                                                  Certified Court Reporter
23   Chicago, Illinois 60654                                   23       State of Louisiana
24                                                             24
25                                                             25

                                                                                                        1 (Pages 1 to 4)
                                              Worldwide Court Reporters, Inc.
                                                     (800) 745-1101
        Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 24 of 53

                                         85                                                       87




                                              14       Q. Before working in the hive with
                                              15   Mr. Fry, had you had experience working with
                                              16   him on Transocean rigs?
                                              17       A. Not working side by side on
                                              18   Transocean rigs, no, sir.
                                              19       Q. Okay. What experience had you
                                              20   had with Mr. Fry prior to working with him in
                                              21   the BP hive?
                                              22       A. Phone conversations,
                                              23   troubleshooting problems on rigs, and
                                              24   meetings.
                                              25       Q. How far back did your
                                         86                                                       88
    1                                          1   relationship with Mr. Fry go?
                                               2        A. I want to say three years, four
                                               3   years.
                                               4        Q. So if you -- if I say you met
                                               5   Mr. Fry in 2007, does that sound accurate to
                                               6   you, approximately?
                                               7        A. I probably talked to him in
                                               8   2007. It was mainly interaction over
                                               9   telephone.
1                                             10        Q. Okay. In your opinion, based on
                                              11   your experience in interacting with Mr. Fry,
                                              12   was he good at his job?
                                              13        A. I feel he did a good job, yes,
                                              14   sir.
                                              15        Q. Do you feel he was knowledgeable
                                              16   about Cameron BOPs?
                                              17        A. Yes, sir.
                                              18        Q. In your experience working with
                                              19   Mr. Fry, do you feel he was knowledgeable
                                              20   about servicing and maintaining BOPs?
                                              21        A. I never worked with him actually
                                              22   on that aspect. It was just mainly
                                              23   troubleshooting.
                                              24        Q. And to be clear, you were
                                              25   troubleshooting maintenance or service
                                                                    22 (Pages 85 to 88)
                             Worldwide Court Reporters, Inc.
                                    (800) 745-1101
      Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 25 of 53

                                                     89                                                   91
 1   problems or repair issues with BOP -- with
 2   Transocean's BOP equipment?
 3       A. Yes, sir. When y'all had
 4   downtime incidents, we'd troubleshoot it over
 5   the phone and try to get techs out to the
 6   rigs.
 7       Q. Okay. And explain to me how
 8   that worked. Would Mr. Fry call you and
 9   consult you on the problem they were having?
10       A. Yes, sir.
11       Q. And would he discuss with you
12   solutions to those BOP maintenance issues?
13       MR. NICHOLS:
14           Objection, form.
15       A. We would talk about the problems
16   at hand on the rig if -- you know, and the
17   best way to move forward in fixing the
18   problems.
19   EXAMINATION BY MR. BAAY:
20       Q. And would the result of some of               20       Q. Same set of questions for
21   those conversations be that he would ask you         21   Mr. Stringfellow: In your opinion was he
22   to send a Cameron service tech out to the            22   good at his job?
23   rig?                                                 23       A. I believe him to be good at his
24       A. Yes, sir. On some incidents we                24   job, yes, sir.
25   sent Cameron service techs out to the rigs.          25       Q. Do you believe he was
                                                     90                                                   92
 1       Q. Okay. So in some instances, you         1          knowledgeable about Cameron blowout
 2   would talk through the problem, he would find  2          preventers?
 3   a solution that a Transocean subsea engineer   3              A. Yes.
 4   could fix; is that true?                       4              Q. And do you believe he was
 5       A. That is correct.                        5          knowledgeable about servicing and maintaining
 6       Q. In other circumstances you would        6          blowout preventers?
 7   discuss the problem and he would say, hey, I   7              A. Yes, sir.
 8   think I need to have a Cameron service hand    8              Q. In other words you were
 9   come help me on this?                          9          impressed at how he did his job?
10       A. Yes, sir.                              10              A. He done a good job at doing his
11       Q. Okay. And in -- in those               11          job.
12   interactions, do you believe or did -- did
13   you draw the opinion that Mr. Fry was
14   knowledgeable about servicing and maintaining
15   Cameron BOPs?
16       A. Yes, sir, Mr. Fry was
17   knowledgeable on the Cameron BOP.
18       Q. Did you like Mr. Fry?
19       A. Yes, sir. I had no problems
20   with Mr. Fry.




                                                                                23 (Pages 89 to 92)
                                  Worldwide Court Reporters, Inc.
                                         (800) 745-1101
         Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 26 of 53

                                                       121                               123




15          Q. Sure. Based on your experience
16      in working with Transocean in the 100
17      times -- plus times you've been on a
18      Transocean rig to help service their blowout
19      preventers, would you agree that they're
20      proactive about getting Cameron involved to
21      help service their blowout preventers?
22          MR. NICHOLS:
23               Objection, form.
24          A. I believe y'all called us when
25      y'all had problems or needed help, yes, sir.         25
                                                       122                               124
    1   EXAMINATION BY MR. BAAY:                                 1
    2        Q. And we weren't shy about doing
    3   it; you'd agree to that?
    4        A. I'd agree with that.
    5




1                                                            1




                                                                       31 (Pages 121 to 124)
                                     Worldwide Court Reporters, Inc.
                                            (800) 745-1101
      Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 27 of 53

                                              125                                                    127
                                                     1   orientation and meeting about evacuation
                                                     2   plans?
                                                     3        A. Yes, sir.
                                                     4        Q. Would you agree that those plans
                                                     5   were thorough and comprehensive?
                                                     6        A. Yes, sir, and we also had
                                                     7   drills.
                                                     8        Q. Okay. Tell me about those.
                                                     9        A. They'd have them sometimes at
                                                    10   night and sometimes during the day, be fire
                                                    11   drills. And you'd have an announcement come
                                                    12   over the PA, tell you that you need to either
                                                    13   muster or head to your life -- your
                                                    14   designated lifeboat.
                                                    15        Q. When you went on Transocean's
                                                    16   rigs, what's the typical length of time you
                                                    17   would spend on the rig? Three or four days?
                                                    18        A. Sometimes up to a week, yes,
                                                    19   sir.
                                                    20        Q. Up to a week in some
                                                    21   circumstances?
                                                    22        A. Yes, sir.
                                                    23        Q. Is it fair to say you got a -- a
                                                    24   very extensive sampling and experience with
                                                    25   how Transocean conducts itself on its rigs?
                                              126                                                    128
                                                    1        A. Yes, sir.
                                                    2        Q. I mean, you've been on -- you
                                                    3    said that, by your estimation, more than 100
                                                    4    times --
 5       Q. Mr. LeNormand, before we took a         5        A. Yes, sir.
 6   break, we were talking a little bit about      6        Q. -- you've been on Transocean's
 7   your time on Transocean's rigs.                7    rigs; is that right?
 8            And so I want to ask you this         8        A. Yes, sir.
 9   question: In your experience on Transocean's   9        Q. Do you have any complaints about
10   rigs, did you feel that the crew made safety  10    how Transocean handled their safety
11   a priority?                                   11    orientations when you would come aboard their
12       A. Yes, sir.                              12    rigs?
13       Q. When you went aboard                   13        A. No, sir. You went through them,
14   Transocean's rigs, did their rig crew provide 14    and they were long and extensive.
15   you a thorough and comprehensive orientation? 15
16       A. Yes, sir.
17       Q. And that included a safety
18   orientation?
19       A. Yes, sir.
20       Q. Did it also -- go ahead.
21       A. Every time.
22       Q. Right. Without exception,
23   right?
24       A. Yes, sir.
25       Q. Did it also include an
                                                                       32 (Pages 125 to 128)
                                Worldwide Court Reporters, Inc.
                                       (800) 745-1101
         Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 28 of 53

                                                         1                                                                   3
            UNITED STATES DISTRICT COURT                      1   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
            EASTERN DISTRICT OF LOUISIANA                             Mr. Keith B. Hall
                                                              2       STONE PIGMAN WALTHER WITTMAN
     IN RE: OIL SPILL     ) MDL NO. 2179                              546 Carondelet Street
     BY THEOIL RIG      )                                     3       New Orleans, Louisiana 70130-3588
     "DEEPWATER HORIZON" IN ) SECTION "J"                     4
     THE GULF OF MEXICO, ON )                                     APPEARING FOR WEATHERFORD:
     APRIL 20, 2010    ) JUDGE BARBIER                        5       Mr. Brett S. Venn
                  ) MAG. JUDGE SHUSHAN                                JONES, WALKER, WAECHTER, POITEVENT,
                                                              6         CARRERE & DENEGRE, LLP
                                                                      201 St. Charles Avenue
                                                              7       New Orleans, Louisiana 70170-5100
                                                              8
                                                                  ALSO PRESENT:
                                                              9      Mr. Pete Jennings, Videographer
                                                             10
                                                             11
                                                             12
                                                             13
                                                             14
                 ****************
                  VOLUME 1 of 1                              15
                 ****************                            16
                                                             17
                                                             18
             Deposition of STEVE JOHNSON, taken              19
     at Pan-American Building, 601 Poydras Street,           20
     11th Floor, New Orleans, Louisiana, 70130, on           21
     September 27, 2011.                                     22
                                                             23
                                                             24
                                                             25

                                                         2                                                                   4
 1            APPEARANCES                                     1                INDEX
 2                                                                       VIDEOTAPED ORAL DEPOSITION OF
 3   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:        2              STEVE JOHNSON
         Mr. Michael C. Palmintier                                          SEPTEMBER 27, 2011
 4       Mr. Jonathan Williams                                3              VOLUME 1 of 1
         DEGRAVELLES, PALMINTIER, HOLTHAUS &                  4
 5        FRUGÉ                                               5
         618 Main Street                                      6                         Page
 6       Baton Rouge, Louisiana 70801-1910                        APPEARANCES........................... 2
 7                                                            7
     APPEARING FOR M-I SWACO AND THE WITNESS:                     EXAMINATION BY MR. PALMINTIER......... 6
 8       Ms. Denise Scofield                                  8
         Mr. John C. Funderburk                                   EXAMINATION BY MR. DAVID.............. 74
 9       MORGAN, LEWIS & BOCKIUS, LLP                         9
         1000 Louisiana Street, Suite 4200                        EXAMINATION BY MR. KING............... 102
10       Houston, Texas 77002-5006                           10
11
                                                                  EXAMINATION BY MR. HARTLEY............ 108
     APPEARING FOR BP, INC.:                                 11
12       Mr. Geoffrey A. David
                                                                  EXAMINATION BY MR. YAMIN.............. 167
         KIRKLAND & ELLIS                                    12
13       601 Lexington Avenue
                                                                  EXAMINATION BY MR. PALMINTIER......... 169
         New York, New York 10022
                                                             13
14
                                                             14
15   APPEARING FOR TRANSOCEAN:
         Mr. Ryan D. King                                         CHANGES AND SIGNATURE................. 179
                                                             15
16       GOFORTH EASTERLING, LLP
         4900 Woodway, Suite 750                                  REPORTER'S CERTIFICATION.............. 181
17       Houston, Texas 77056                                16
18                                                           17
     APPEARING FOR HALLIBURTON:                                                EXHIBIT INDEX
19       Mr. Floyd R. Hartley, Jr.                           18
         Ms. Jill J. Prudhomme                               19                              Page
20       GODWIN RONQUILLO                                         Exhibit No. 5400...................... 132
         1201 Elm Street, Suite 1700                         20        M-I SWACO VRF70 dated
21       Dallas, Texas 75270-2041                                 7/13/08; Reference Number
22                                                           21   08071402NC; no Bates number
     APPEARING FOR ANADARKO PETROLEUM COMPANY:               22   Exhibit No. 5401...................... 132
23       Mr. David Yamin                                               M-I SWACO VRF70 dated
         BINGHAM MCCUTCHEN                                   23   08/04/05; Reference Number
24       One Federal Street                                       05080202N; no Bates number
         Boston, Massachusetts 02110-1726                    24
25                                                           25   Exhibit No. 5402...................... 132

                                                                                                               1 (Pages 1 to 4)
                                 PURSUANT TO CONFIDENTIALITY ORDER
     Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 29 of 53

                                     101                                                          103




1




25
                                     102                                                          104
                                            1

                                            3
                                            4

                                            6

                                            8
                                            9
1
                                           11

                                           13
                                           14

                                           16           I guess, first off, based on your
                                           17   experience with the Transocean personnel on the
                                           18   DEEPWATER HORIZON, did you ever get the
                                           19   impression that any of them deliberately wanted
                                           20   to cause injury to the environment or to any
                                           21   person?
                                           22       MR. PALMINTIER:
                                           23           Object to form.
                                           24       A. No.
                                           25   EXAMINATION BY MR. KING:

                                                                  26 (Pages 101 to 104)
                 PURSUANT TO CONFIDENTIALITY ORDER
       Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 30 of 53

                                                 105                                                     107
 1       Q. Okay. And based on your experience          1       Q. Okay. Did you ever participate in
 2   with the Transocean personnel on the DEEPWATER     2   any well control drills?
 3   HORIZON, did you ever get the impression that any  3       A. Yes.
 4   of them were malicious or didn't care in any way   4       Q. Did you -- did you feel like, based
 5   about causing injury to another human or the       5   on your participation in those drills, that you
 6   environment?                                       6   knew what your responsibilities were in the case
 7       MR. PALMINTIER:                                7   of a well control event?
 8           Object to form.                            8       A. Yes.
 9       A. No.                                         9       Q. Okay. Do you feel like you were
10   EXAMINATION BY MR. KING:                          10   adequately trained?
11       Q. Okay. In your experience on the            11       A. Yes.
12   DEEPWATER HORIZON and also on the DISCOVERER 12            Q. Did you have any complaints about
13   SPIRIT, did you feel that the Transocean rig crew 13   the safety drills that you participated in
14   made safety a priority?                           14   onboard the DEEPWATER HORIZON?
15       A. Yes.                                       15       A. No.
16       MR. PALMINTIER:
17           Object to form.
18   EXAMINATION BY MR. KING:
19       Q. Did you feel that Transocean was a
20   safety conscious company?
21       MR. PALMINTIER:
22           Object to form.
23       A. Yes.



                                                 106                                                     108
 1



 4
 5
 6




10           Your experience on the DEEPWATER          1
11   HORIZON, did you feel that the Transocean crew
12   were competent?
13       MR. PALMINTIER:
14           Object to form.
15       A. And when I dealt with them, yes.
16   EXAMINATION BY MR. KING:
17       Q. While onboard the DEEPWATER HORIZON,
18   did you participate in safety drills?
19       A. Yes.
20       Q. And how often did you participate in
21   those?
22       A. I don't recall, but there was plenty
23   of them.
24       Q. Was it on a weekly basis?
25       A. Yes.

                                                                           27 (Pages 105 to 108)
                        PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 31 of 53

                                                         1                                                                          3
             UNITED STATES DISTRICT COURT                     1   APPEARING FOR MOEX:
                                                                    Mr. Jack Reynolds
             EASTERN DISTRICT OF LOUISIANA                    2     PILLSBURY WINTHROP SHAW PITTMAN
                                                                    2 Houston Center
                                                              3     909 Fannin, Suite 2000
     IN RE: OIL SPILL    ) MDL NO. 2179                             Houston, Texas 77010-1018
     BY THEOIL RIG     )                                      4
     "DEEPWATER HORIZON" IN ) SECTION "J"                         APPEARING FOR M-I SWACO:
                                                              5     Mr. Hugh E. Tanner
     THE GULF OF MEXICO, ON )                                       Mr. John C. Funderburk
     APRIL 20, 2010   ) JUDGE BARBIER                         6     Ms. Denise Scofield
                 ) MAG. JUDGE SHUSHAN                               MORGAN, LEWIS & BOCKIUS, LLP
                                                              7     1000 Louisiana Street, Suite 4000
                                                                    Houston, Texas 77002-5006
                                                              8
                                                                  APPEARING FOR HALLIBURTON:
                                                              9     Mr. Floyd R. Hartley, Jr.
                                                                    Ms. Jill J. Prudhomme
                                                             10     GODWIN RONQUILLO
                                                                    Renaissance Tower
                                                             11     1201 Elm Street, Suite 1700
                                                                    Dallas, Texas 75270-2041
                                                             12
                                                                  APPEARING FOR THE UNITED STATES:
                                                             13     Mr. Matthew Z. Leopold
                                                                    U.S. DEPARTMENT OF JUSTICE
                                                             14     ENVIRONMENTAL & NATURAL
                                                                    RESOURCES DIVISION
                 *****************                           15     ATTORNEY ADVISOR, LAW AND POLICY SECTION
                    VOLUME 1                                        950 Pennsylvania Avenue, N.W., Room 2616
                                                             16     Washington, D.C. 20530
                 *****************                           17   APPEARING FOR THE STATE OF LOUISIANA:
                                                                    Mr. David A. Pote
                                                             18     Attorneys for Louisiana Attorney General
                                                                    KANNER & WHITELEY
          Deposition of Leo Thomas Lindner, III,             19     701 Camp Street
     taken at the Pan-American Building, 601 Poydras                New Orleans, Louisiana 70130-3504
                                                             20
     Street, 11th Floor, New Orleans, Louisiana,             21   ALSO PRESENT:
     70130, on the 14th day of September, 2011.                    Mr. Peter Jennings, Videographer
                                                             22
                                                             23
                                                             24
                                                             25

                                                         2                                                                          4
 1          APPEARANCES                                       1                INDEX
 2                                                            2           VIDEOTAPED ORAL DEPOSITION OF
 3   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:                      LEO THOMAS LINDNER, III
       Mr. Joseph Bruno                                       3              SEPTEMBER 14, 2011
 4     Ms. Melissa DeBarbieris
                                                                               VOLUME 1
       BRUNO & BRUNO
 5     855 Baronne Street
                                                              4
       New Orleans, Louisiana 70113                           5   Appearances.................................... 2
 6                                                            6
     APPEARING FOR BP, INC.:                                      Direct Examination-Mr. Bruno................... 5
 7     Mr. Don K. Haycraft                                    7   Examination-Mr. Leopold...................... 212
       LISKOW & LEWIS                                             Examination-Mr. Doyen........................ 291
 8     One Shell Square                                       8
       701 Poydras Street, Suite 5000                         9   Changes and Signature........................ 360
 9     New Orleans, Louisiana 70139-5099                          Reporter's Certificate....................... 362
10   APPEARING FOR TRANSOCEAN:                               10
       Mr. Michael R. Doyen
                                                             11
11     Mr. Matthew M. Steinberg
       MUNGER TOLLES & OLSON                                 12                EXHIBIT INDEX
12     355 South Grand Avenue, 35th Floor                    13
       Los Angeles, California 90071-1560                         Ex. No.           Description                Marked
13                                                           14
     APPEARING FOR ANADARKO PETROLEUM COMPANY:               15   5139     Drawing demonstrating path of
14     Ms. Leigh Ann Schell                                             the mud; one page             46
       Mr. Joseph H. Hart, IV                                16
15     KUCHLER POLK SCHELL WEINER & RICHESON                      5140  Feb 22, 2009 Mi SWACO document,
       1615 Poydras Street, Suite 1300                       17       marked as CONFIDENTIAL; Bates
16     New Orleans, Louisiana 70112
17   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
                                                                      No. BP-HZN-2179MDL00004310 -
       Ms. Carmelite M. Bertaut                              18       04312                      47
18     Ms. Lauren E. Godshall                                19   5141 Jan 27, 2010 E-mail string among
       STONE PIGMAN WALTHER WITTMAN                                   Don Vidrine and Leo Lindner,
19     546 Carondelet Street                                 20       Subject: Displacement to seawater
       New Orleans, Louisiana 70130-3588                              with Attachments, marked as
20                                                           21       CONFIDENTIAL; Bates No.
     APPEARING FOR WEATHERFORD:                                       BP-HZN-2179MDL01407580 - 07581                    290
21     Mr. Edward D. Wegmann                                 22
       JONES, WALKER, WAECHTER, POITEVENT,                        5142    Feb 20, 2010 E-mail from Leo
22     CARRERE & DENEGRE, LLP
       201 St. Charles Avenue
                                                             23         Lindner, Subject: Proposed
23     New Orleans, Louisiana 70170-5100                                Procedure for FAS with Attachments;
24                                                           24         Bates No. M-I 00034324 - 34327      326
25                                                           25

                                                                                                                      1 (Pages 1 to 4)
                                      PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 32 of 53

                                                     357                                                      359
    1                                                       1     A. I trust -- I trusted every crew on the
                                                            2   HORIZON.
                                                            3     Q. Did you have any reason to think this
                                                            4   crew would take any unnecessary risk in
                                                            5   displacing the well or conducting the test?
                                                            6     A. No.
                                                            7     Q. Did you have any reason to think they
                                                            8   wouldn't do everything they could to control the
                                                            9   well?
1                                                          10     A. I believe they did their best.




                                                           18
                                                           19
                                                           20
                                                           21
                                                           22
                                                           23
                                                           24
                                                           25
                                                     358                                                      360
                                                            1          CHANGES AND SIGNATURE
                                                            2   WITNESS NAME: LEO THOMAS LINDNER, III
                                                            3   DATE OF DEPOSITION: SEPTEMBER 14, 2011
                                                            4   PAGE LINE     CHANGE        REASON
                                                            5   _________________________________________________
                                                            6   _________________________________________________
                                                            7   _________________________________________________
                                                            8   _________________________________________________
                                                            9   _________________________________________________
1                                                          10   _________________________________________________
                                                           11   _________________________________________________
                                                           12   _________________________________________________
                                                           13   _________________________________________________
                                                           14   _________________________________________________
                                                           15   _________________________________________________
16         Q. Did you, when you went to bed, trust the     16   _________________________________________________
17      rig crew to deal with whatever situation came up   17   _________________________________________________
18      as it completed the displacement process?          18   _________________________________________________
19         A. I had complete trust in the A crew and       19   _________________________________________________
20      in -- and in BP.                                   20   _________________________________________________
21         Q. Is it fair to say, on this occasion and      21   _________________________________________________
22      many occasions, you -- you left your personal      22   _________________________________________________
23      safety in their hands?                             23   _________________________________________________
24         A. Yes, sir.                                    24   _________________________________________________
25         Q. Did you trust the crew?                      25   _________________________________________________

                                                                                90 (Pages 357 to 360)
                            PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 33 of 53

                                                         1                                                                          3
            UNITED STATES DISTRICT COURT                      1   APPEARING FOR DRIL-QUIP, INC.:
                                                                   Ms. Wendy Ware Bishop
            EASTERN DISTRICT OF LOUISIANA                     2    WARE, JACKSON, LEE & CHAMBERS
                                                                   America Tower, 42nd Floor
     IN RE: OIL SPILL    ) MDL NO. 2179                       3    2929 Allen Parkway
     BY THEOIL RIG     )                                           Houston, Texas 77019-7101
                                                              4
     "DEEPWATER HORIZON" IN ) SECTION "J"                         APPEARING FOR M-I SWACO:
     THE GULF OF MEXICO, ON )                                 5    Mr. Hugh E. Tanner
     APRIL 20, 2010   ) JUDGE BARBIER                              Ms. Denise Scofield
                                                              6    MORGAN, LEWIS & BOCKIUS, LLP
                 ) MAG. JUDGE SHUSHAN                              1000 Louisiana Street, Suite 4000
                                                              7    Houston, Texas 77002-5006
                                                              8   APPEARING FOR HALLIBURTON:
                                                                   Mr. Floyd R. Hartley, Jr.
                                                              9    Ms. Jill J. Prudhomme
                                                                   GODWIN RONQUILLO
                                                             10    Renaissance Tower
                                                                   1201 Elm Street, Suite 1700
                                                             11    Dallas, Texas 75270-2041
                                                             12   APPEARING FOR THE UNITED STATES:
                                                                   Mr. A. Nathaniel Chakeres
                                                             13    U.S. DEPARTMENT OF JUSTICE
                                                                   ENVIRONMENTAL & NATURAL
                                                             14    RESOURCES DIVISION
                                                                   601 D Street, N.W.
                 *****************                           15    Washington, D.C. 20004
                    VOLUME 1                                 16   APPEARING FOR THE STATE OF LOUISIANA:
                 *****************                                 Mr. Lambert J. "Joe" Hassinger, Jr.
                                                             17    GALLOWAY, JOHNSON, TOMPKINS, BURR
                                                                   AND SMITH
                                                             18    701 Poydras Street, 40th Floor
           Deposition of Gregory Luke Meche, taken                 New Orleans, Louisiana 70139
                                                             19
     at the Pan-American Building, 601 Poydras Street,            ALSO PRESENT:
     11th Floor, New Orleans, Louisiana, 70130, on the       20    Mr. Peter Jennings, Videographer
     6th day of October, 2011.                               21
                                                             22
                                                             23
                                                             24
                                                             25

                                                         2                                                                          4
 1          APPEARANCES                                       1                INDEX
 2                                                            2           VIDEOTAPED ORAL DEPOSITION OF
 3
                                                                             GREGORY LUKE MECHE
 4   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:
       Mr. Michael C. Palmintier                              3              OCTOBER 6, 2011
 5     Mr. Jonathan Williams                                                   VOLUME 1
       DEGRAVELLES, PALMINTIER, HOLTHAUS & FRUGÉ              4
 6     618 Main Street                                        5
       Baton Rouge, Louisiana 70801-1910                      6   Appearances.................................... 2
 7                                                            7
     APPEARING FOR BP, INC.:
 8     Ms. Leslie S. Garthwaite                                   Direct Examination-Mr. Palmintier.............. 6
       KIRKLAND & ELLIS                                       8   Examination-Mr. Chakeres..................... 105
 9     300 North LaSalle                                          Examination-Mr. Hartley...................... 127
       Chicago, Illinois 60654                                9   Examination-Ms. Shushan...................... 175
10                                                                Examination-Ms. Garthwaite................... 188
     APPEARING FOR TRANSOCEAN:                               10   Examination-Mr. Hart......................... 263
11     Ms. Amber B. Shushan
       Mr. Robert A. Lemus                                        Redirect Examination-Mr. Palmintier.......... 284
12     SUTHERLAND ASBILL & BRENNAN                           11
       1001 Fannin, Suite 3700                               12   Changes and Signature........................ 290
13     Houston, Texas 77002-6760                                  Reporter's Certificate....................... 292
14   APPEARING FOR ANADARKO PETROLEUM COMPANY:               13
       Mr. Joseph H. Hart, IV                                14
15     Mr. Thomas A. Porteous
       KUCHLER POLK SCHELL WEINER & RICHESON
                                                             15
16     1615 Poydras Street, Suite 1300                       16                EXHIBIT INDEX
       New Orleans, Louisiana 70112                          17
17                                                                Ex. No.           Description                Marked
     APPEARING FOR CAMERON INTERNATIONAL CORPORATION:        18
18     Mr. Joe W. Redden, Jr.                                19   5561   May 14, 2010 Email from Brian
       BECK, REDDEN & SECREST
19     One Houston Center                                             Martin to Kimberly Teweleit,
       1221 McKinney Street, Suite 4500                      20       Subject: Emailing: Leo Linder.xls,
20     Houston, Texas 77010-2010                                      with Attachments, two pages;
21                                                           21       Bates No. BP-HZN-BLY00081083          106
     APPEARING FOR WEATHERFORD:                              22   5562 Mi Swaco Form 3004-1 - Static
22     Mr. William J. Joyce                                           Sheen Test Report Form,
       JONES, WALKER, WAECHTER, POITEVENT,
23     CARRERE & DENEGRE, LLP
                                                             23       Certificate of Analysis, marked
       201 St. Charles Avenue                                         as HIGHLY CONFIDENTIAL; Bates Nos.
24     New Orleans, Louisiana 70170-5100                     24       M-I 00058994 - M-I 00059035        120
25                                                           25

                                                                                                                      1 (Pages 1 to 4)
                                  PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 34 of 53

                                    173                                                     175




                                          10     Q. First, I'd like to talk to you about your
                                          11   experience on the -- over the three years on
                                          12   DEEPWATER HORIZON.
                                          13        Did you ever get the impression that
                                          14   Transocean personnel aboard the DEEPWATER HORIZON
                                          15   deliberately wanted to harm the environment?
                                          16     A. No.
                                          17           MR. HARTLEY: Objection, form.
                                          18     Q. (By Ms. Shushan) Or any person?
                                          19     A. I'm sorry?
                                          20     Q. Did you ever get the impression that
                                          21   Transocean personnel aboard the DEEPWATER HORIZON
                                          22   deliberately wanted to harm any person?
                                          23           MR. HARTLEY: Objection, form.
                                          24     A. No.
                                          25     Q. (By Ms. Shushan) Did you ever get the

                                    174                                                     176
                                           1   impression that Transocean personnel aboard the
                                           2   DEEPWATER HORIZON were malicious or didn't care
                                           3   about causing injury to the environment?
                                           4           MR. HARTLEY: Objection, form.
                                           5     A. No.
                                           6     Q. (By Ms. Shushan) Or any person?
                                           7     A. No.
                                           8     Q. Did the Transocean crew ab -- aboard the
                                           9   DEEPWATER HORIZON make safety a priority?
1                                         10     A. Yes.
                                          11     Q. Did you feel that Transocean was a safety
                                          12   conscious company?
                                          13     A. Yes.
                                          14     Q. Did you feel that the Transocean
                                          15   personnel aboard the DEEPWATER HORIZON were
                                          16   competent?
                                          17     A. Yes.
                                          18           MR. HARTLEY: Objection, form.
                                          19     Q. (By Ms. Shushan) While onboard the
                                          20   DEEPWATER HORIZON, did you participate in Safety
                                          21   Drills?
                                          22     A. Yes.
                                          23     Q. How often?
                                          24     A. At a minimum, once a week.


                                                               44 (Pages 173 to 176)
                PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 35 of 53

                                                  177                              179



 3     Q. Based on your participation on the Safety
 4   Drills, did you feel that you knew what your
 5   responsibilities were in the case of -- of an
 6   event that called for such a dr -- an action?
 7     A. Yes.
 8     Q. Did you feel that you were adequately
 9   trained on Safety Procedures?
10     A. Yes.                                         1
11     Q. Do you have any complaints about the
12   Safety Drills that you participated in aboard the
13   DEEPWATER HORIZON?
14     A. No.




                                                        25
                                                  178                              180




1                                                       1




                                                             45 (Pages 177 to 180)
                        PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 36 of 53

                                                  261                              263



 3      Q. Okay. Are you familiar with the phrase
 4   "stop the job"?
 5      A. Yes.
 6      Q. What does it mean to you?
 7      A. It means that I have the authority, as
 8   does anyone else, to completely shut down an
 9   operation for unsafe acts, or anything of the
10   like.                                             1
11      Q. In your experience, were -- was everyone
12   on the DEEPWATER HORIZON familiar with the phrase
13   "stop the job"?
14      A. Yes.
15            MR. HARTLEY: Objection, form.
16            MR. HASSINGER: Objection, form.
17      Q. (By Ms. Garthwaite) In your experience,
18   were people on the DEEPWATER HORIZON serious
19   about safety?
20      A. Very much.
21      Q. Were you serious about safety?
22      A. Very much.
23



                                                  262                              264




                                                        1




                                                            66 (Pages 261 to 264)
                         PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 37 of 53

                                                          1                                                           3
              UNITED STATES DISTRICT COURT                     1     JONES, WALKER, WAECHTER, POITEVENT,
                                                                        CARRERE & DENEGRE, LLP
              EASTERN DISTRICT OF LOUISIANA                    2     201 St. Charles Avenue
                                                                     New Orleans, Louisiana 70170
                                                               3
      IN RE: OIL SPILL     ) MDL NO. 2179                      4   APPEARING FOR M-I SWACO:
      BY THEOIL RIG      )                                          Mr. John C. Funderburk
                                                               5    MORGAN, LEWIS & BOCKIUS, LLP
      "DEEPWATER HORIZON" IN ) SECTION "J"                          1000 Louisiana Street, Suite 4000
      THE GULF OF MEXICO, ON )                                 6    Houston, Texas 77002-5006
      APRIL 20, 2010    ) JUDGE BARBIER                        7
                                                                   APPEARING FOR HALLIBURTON:
                   ) MAG. JUDGE SHUSHAN                        8    Mr. Gavin Hill
                                                                    Ms. Andrea Whitten
                                                               9    GODWIN RONQUILLO
                                                                    1201 Elm Street, Suite 1700
                                                              10    Dallas, Texas 75270-2041
                                                              11
                                                                   APPEARING FOR DRIL-QUIP, INC.:
                                                              12    Mr. C. Dennis Barrow, Jr.
                                                                    WARE, JACKSON, LEE & CHAMBERS
                                                              13    America Tower, 42nd Floor
                                                                    2929 Allen Parkway
                                                              14    Houston, Texas 77019-7101
                                                              15
                                                                   APPEARING FOR THE UNITED STATES:
                                                              16    Mr. A. Nathaniel Chakeres
                                                                    U.S. DEPARTMENT OF JUSTICE
                                                              17    ENVIRONMENTAL & NATURAL RESOURCES DIVISION
                   *******************                              601 D Street, N.W.
                                                              18    Washington, D.C. 20004
                      VOLUME 1                                19    Ms. Malinda Lawrence
                   ******************                               U.S. DEPARTMENT OF JUSTICE
                                                              20    TORT BRANCH, CIVIL DIVISION
                                                                    1425 New York Avenue, N.W.
        Deposition of STUART LACY, taken at Kirkland &        21    Suite 10100
      Ellis International, 30 St. Mary Axe, 22nd Floor,             Washington, D.C. 20005
                                                              22    Post Office Box 14271
      London EC3A 8AF, England, United Kingdom, on the              Washington, D.C. 20044-4271
      23rd of September, 2011.                                23
                                                              24   APPEARING FOR THE STATE OF LOUISIANA:
                                                                    Mr. Douglas R. Kraus
                                                              25    KANNER & WHITELEY

                                                          2                                                           4
 1            APPEARANCES                                      1      701 Camp Street
 2
     APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:
                                                                      New Orleans, Louisiana 70130-3504
 3     Mr. Ervin A. Gonzalez                                   2
       Mr. Geoff J. Keiser                                            Mr. Michael Keller
 4     COLSON, HICKS EIDSON                                    3      Ms. Phyllis E. Glazer
       600 Carondelet Street, Rm 810
 5     New Orleans, Lousiana 70130
                                                                      Assistant Attorney General
 6                                                             4      Litigation Division
     APPEARING FOR BP, INC.:                                          LOUISIANA DEPARTMENT OF JUSTICE
 7     Mr. John Lausch                                         5      400 Poydras Street, Suite 1600
       Ms. Hariklia "Carrie" Karis
 8     KIRKLAND & ELLIS                                               New Orleans, Louisiana 70130-3220
       300 North LaSalle                                       6
 9     Chicago, Illinois 60654                                 7   APPEARING FOR MOEX:
10                                                                  Mr. Jack Reynolds
     APPEARING FOR TRANSOCEAN:
11     Mr. Daniel Johnson                                      8    PILLSBURY WINTHROP SHAW PITTMAN
       Ms. Stephany LeGrand                                         2 Houston Center
12     SUTHERLAND ASBILL & BRENNAN                             9    909 Fannin, Suite 2000
       1001 Fannin, Suite 3700                                      Houston, Texas 77010-1018
13     Houston, Texas 77002-6760
14                                                            10
     APPEARING FOR ANADARKO PETROLEUM COMPANY:                11   ALSO PRESENT:
15     Mr. Tony Forte                                               Mr. Peter Jennings, videographer
       BINGHAM MCCUTCHEN                                      12
16     399 Park Avenue
       New York, New York 10022-4689                          13
17                                                            14
       Warren Anthony Fitch                                   15
18     BINGHAM MCCUTCHEN                                      16
       2020 K Street, Northwest
19     Washington, D.C. 20006-1806                            17
20                                                            18
     APPEARING FOR CAMERON INTERNATIONAL CORPORATION:         19
21     Mr. Thomas Ganucheau
       BECK, REDDEN & SECREST
                                                              20
22     One Houston Center                                     21
       1221 McKinney Street, Suite 4500                       22
23     Houston, Texas 77010-2010                              23
24
     APPEARING FOR WEATHERFORD:                               24
25     Mr. Joseph J. Lowenthal, Jr.                           25

                                                                                                        1 (Pages 1 to 4)
                                     PURSUANT TO CONFIDENTIALITY ORDER
                Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 38 of 53

                                                                 165                                                  167
                                                               1       need to stop and circulate the sand. Kind of,
                                                               2       yeah, but probably not in the kind of TransOcean
                                                               3       specific way that you mean.
                                                               4          Q. And in what way do you mean exactly?
1                                                              5          A. Well, if we're not sure about something,
                                                               6       we can stop and circulate cuttings up and just get
                                                               7       our bearings a bit.
         8      Q. You mentioned that you had visited the      8          Q. And when you requested that that be done,
         9   DEEPWATER HORIZON on several occasions and worked 9       did -- did that happen? Did the work stop?
 1:52
1:54    10   aboard the rig; is that correct?                 10          A. Yes. Yes, it did.
        11      A. For four years, correct.                   11          Q. And did the team regroup and --
        12      Q. And when you visited the rig, presumably   12          A. Yeah.
        13   you stayed the night, overnight on the rig?      13          Q. -- make sure that everyone --
        14      A. Yeah. Normally three weeks at a time.      14          A. Yeah, yeah.
 1:52
1:54    15      Q. When you first arrived at the rig did you  15          Q. -- was on the same page?
        16   receive a safety orientation?                    16          A. Yeah. Yes, they did.
        17      A. Yes. Yes, I did.                           17          Q. And work didn't commence again until
        18      Q. And it --                                  18       everybody was on the same page and felt that it
        19      A. You mean -- you mean the first time I went 19       was safe to proceed?
 1:52
1:54    20   to out the rig ever? Or every time I was --      20          A. Correct, yeah.
        21      Q. Probably every time.
        22      A. Yeah, every time. We would have a reduced
        23   one because we knew the rig and we had the longer
        24   one originally. So...
        25      Q. And that orientation was given by the

                                                                 166                                                  168
         1   TransOcean crew members?
         2       A. Yes, it was.
         3       Q. Did it include evacuation and emergency
         4   procedures?
1:53
1:55     5       A. Yes, it did.
         6       Q. At any time during the drilling of the
         7   Macondo Well, did you observe any willful or
         8   intentional misconduct towards human safety on the
         9   part of any TransOcean crew member?
1:53
1:55    10       A. No, I didn't.                               1
        11       Q. At any time during the drilling of the
        12   Macondo Well, did you observe any willful or
        13   intentional misconduct towards the environment
        14   of -- on the part of any TransOcean crew member?
1:53
1:55    15       A. No, I didn't.
        16       Q. Based on the safety orientation and your
        17   experience on the rig, were you aware that you had
        18   the authority to call a work stoppage or a
        19   time-out for safety if you observed any unsafe
1:53
1:55    20   condition?
        21       A. Yes, I was.
        22       Q. Did you ever call a time-out for safety?
        23       A. Not in the sense that you mean.
        24   Certainly, many times in the past I've stopped us
        25   drilling, but it's not sort of stop a job; it's we
                                                                                       42 (Pages 165 to 168)
                                     PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 39 of 53
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                 Reported by:

KATHARINE FATIO PAINE VOL. II April 19, 2011                                                         SANDRA D. FILES, CCR


                                                                                                                  Page 336


                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                          Volume 2 of the Videotaped
               Deposition of KATHARINE FATIO PAINE, 12903
               Sugar Ridge Boulevard, Suite 4503,
               Stafford, Texas, 77477, taken in the Pan
               American Life Center, Pontchartrain Room,
               11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on Tuesday, April
               19, 2011.

               APPEARANCES:

               ON BEHALF OF THE PLAINTIFFS
               STEERING COMMITTEE


               LEWIS, KULLMAN, STERBCOW & ABRAMSON
               By: Paul M. Sterbcow, Esquire
               601 Poydras Street, Suite 2615
               New Orleans, Louisiana 70130




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029 Board-Certified Court Reporters                                     Facsimile: (504) 525-9109
                                                                                                          1bf3f01f-e1bb-4af4-9df6-a37b2940155a
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 40 of 53
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                           Reported by:

KATHARINE FATIO PAINE VOL. II April 19, 2011                                                                                  SANDRA D. FILES, CCR

                                                                                           Page 509                                              Page 511




 10                                                                                                   10




                                                                                           Page 510                                                     512




                                                                                                       4       Q. Okay. Did you ever feel unsafe
                                                                                                       5   while you were on the DEEPWATER HORIZON
                                                                                                       6   drilling the Macondo rig -- the Macondo
                                                                                                       7   well?
                                                                                                       8       A. No.
                                                                                                       9       Q. Did you ever feel like the
 10                                                                                                   10   Transocean rig crew was going faster than
                                                                                                      11   they should to safely drill the well?
                                                                                                      12       A. No.
                                                                                                      13       Q. Would you have said something if
                                                                                                      14   you felt unsafe while on the DEEPWATER
                                                                                                      15   HORIZON?
                                                                                                      16       A. Yes.
                                                                                                      17       Q. Specifically we spent a lot of
                                                                                                      18   time talking about March 8th. Prior to the
                                                                                                      19   kick on March 8th, did you think that the
                                                                                                      20   drilling rate was unsafe?
                                                                                                      21       A. No.




                                                                                                                          45 (Pages 509 to 512)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                                        Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029 Board-Certified Court Reporters                                                              Facsimile: (504) 525-9109
                                                                                                                                    1bf3f01f-e1bb-4af4-9df6-a37b2940155a
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 41 of 53
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                         Reported by:

KATHARINE FATIO PAINE VOL. II April 19, 2011                                                                 SANDRA D. FILES, CCR

                                                                                           Page 521                            Page 523




 10                                                                                                   10




 20    Q. Do you feel that after March 8th
 21 the Transocean rig crew drilled the well
 22 safely?
 23    A. Yes.


                                                                                           Page 522                            Page 524




 10                                                                                                   10




                                                                                                           48 (Pages 521 to 524)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                        Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029 Board-Certified Court Reporters                                             Facsimile: (504) 525-9109
                                                                                                                  1bf3f01f-e1bb-4af4-9df6-a37b2940155a
           Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 42 of 53

                                                    1                                                             3
             UNITED STATES DISTRICT COURT                1      A P P E A R A N C E S (Continued)
                                                         2
             EASTERN DISTRICT OF LOUISIANA               3   APPEARING FOR WEATHERFORD:
                                                              Mr. Joe Lowenthal
                                                         4    JONES, WALKER, WAECHTER, POITEVENT,
     IN RE: OIL SPILL     ) MDL NO. 2179                      CARRERE & DENEGRE, LLP
     BY THEOIL RIG      )                                5    201 St. Charles Avenue
     "DEEPWATER HORIZON" IN ) SECTION "J"                     New Orleans, Louisiana 70170
                                                         6
     THE GULF OF MEXICO, ON )                            7   APPEARING FOR DRIL-QUIP, INC.:
     APRIL 20, 2010    ) JUDGE BARBIER                        Ms. Margaret Bryant
                                                         8    WARE, JACKSON, LEE & CHAMBERS
                  ) MAG. JUDGE SHUSHAN                        America Tower, 42nd Floor
                                                         9    2929 Allen Parkway
                                                              Houston, Texas 77019-7101
                                                        10
                                                        11   APPEARING FOR M-I SWACO:
                                                              Mr. John C. Funderburk
                                                        12    Mr. Hugh E. Tanner
                                                              MORGAN, LEWIS & BOCKIUS, LLP
                                                        13    1000 Louisiana Street, Suite 4200
                                                              Houston, Texas 77002-5006
                                                        14
                                                        15   APPEARING FOR HALLIBURTON:
                                                              Mr. Gavin Hill
                                                        16    Ms. Laci Dreher
                                                              GODWIN RONQUILLO
                                                        17    1201 Elm Street, Suite 1700
                                                              Dallas, Texas 75270-2041
                                                        18
                                                        19   APPEARING FOR THE UNITED STATES:
                                                              Mr. A. Nathaniel Chakeres
                                                        20    Ms. Abigail E. Andre
                                                              U.S. DEPARTMENT OF JUSTICE
                                                        21    ENVIRONMENTAL & NATURAL
                                                              RESOURCES DIVISION
              Deposition of VICTOR EMANUEL,             22    601 D Street, N.W.
     taken at Pan-American Building, 601 Poydras              Washington, D.C. 20004
                                                        23
     Street, 11th Floor, New Orleans, Louisiana,        24
     70130, on the 27th day of September, 2011.         25

                                                    2                                                             4
 1         APPEARANCES                                   1        A P P E A R A N C E S (Continued)
 2
 3   APPEARING FOR THE PLAINTIFFS' STEERING              2
     COMMITTEE:                                          3   APPEARING FOR THE STATE OF LOUISIANA:
 4     Mr. Walter J. Leger, Jr.
       Ms. Christine E. Sevin
                                                              Mr. Douglas R. Kraus
 5     LEGER & SHAW                                      4    Attorneys for Louisiana Attorney General
       600 Carondelet Street, 9th Floor                       KANNER & WHITELEY
 6     New Orleans, Louisiana 70130
 7                                                       5    701 Camp Street
     APPEARING FOR BP, INC.:                                  New Orleans, Louisiana 70130-3504
 8     Mr. Christopher W. Keegan                         6
       Mr. Errling Tao
 9     KIRKLAND & ELLIS                                  7   ALSO PRESENT:
       555 California Street                                  Mr. Ray Aguirre, Case Manager
10     San Francisco, California 94104
11
                                                         8    Ms. Kayla Barnes, Videographer
     APPEARING FOR TRANSOCEAN:                           9
12     Mr. Allen M. Katz                                10
       MUNGER TOLLES & OLSON
13     355 South Grand Avenue, 35th Floor               11
       Los Angeles, California 90071-1560               12
14                                                      13
15   APPEARING FOR ANADARKO PETROLEUM COMPANY:
       Mr. Robert E. Guidry                             14
16     Ms. Milele St. Julien                            15
       KUCHLER POLK SCHELL WEINER & RICHESON
17     1615 Poydras Street, Suite 1300
                                                        16
       New Orleans, Louisiana 70112                     17
18                                                      18
19   APPEARING FOR CAMERON INTERNATIONAL
     CORPORATION:                                       19
20     Ms. Kathleen A. Gallagher                        20
       BECK, REDDEN & SECREST                           21
21     One Houston Center
       1221 McKinney Street, Suite 4500                 22
22     Houston, Texas 77010-2010                        23
23
24                                                      24
25                                                      25
                                                                                                    1 (Pages 1 to 4)
                                     PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 43 of 53

                                                            105                              107
           1
           2


1:02
 :00




1:02
 :00   1                                                          1




1:02
 :00




1:04
 :00




1                                                                 25
                                                            106                              108
        1               Had you been on the Deepwater
        2      Horizon on occasion before April 10th,
        3      2000 -- I'm sorry, April 10th, 2010?
        4          A. That's correct.
1:05
1:01    5          Q. How many time -- when was the
        6      first time you were ever aboard that rig?
        7          A. Sometime in 2005.
        8          Q. Okay. Can you tell me about on
        9      how many occasions you were on the rig
1:05
1:01   10      between 2005 and between April 10th, 2010?         1
       11          A. I don't remember exactly the
       12      number of times, but quite a few times.
       13          Q. Give -- can you give me an
       14      estimate? Was it more than ten?
1:05
1:01   15          A. Yes, sir.
       16          Q. Was it more than 20?
       17          A. Hard to say.
       18          Q. Okay. Somewhere --
       19      approximately 20?
1:06
1:01   20          A. Somewhere between ten and 20.




                                                                       27 (Pages 105 to 108)
                                 PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 44 of 53

                                           133                                                    135




 :36
 :34




:38
:34    1                                         1




                                                 21                 When you did your wireline work
                                                 22   on the Deepwater Horizon in April of 2010,
                                                 23   did you work with or InterACT with any
                                                 24   Transocean personnel, such as the driller or
1:                                               25   the assistant driller or the OIM?
                                           134                                                    136
                                                  1       A. Yes, sir.
                                                  2       Q. And how -- how would you
                                                  3   InterACT with them?
                                                  4       A. In the process to rig up, rig
1:35
1:44                                              5   down tools, safety meetings, moving equipment
                                                  6   on the deck.
                                                  7       Q. And did you work with -- do you
                                                  8   remember any -- any individuals in particular
                                                  9   that you worked with in April 2010 by name?
1:36
1:44   1                                         10       A. No, not by name.
                                                 11       Q. Okay. Did you work with them
                                                 12   enough to form any opinions about their --
                                                 13   their competence?
                                                 14       A. I work in that rig for a long
1:36
1:44                                             15   time, and I never had a problem. I'm not
                                                 16   trying to know what they do exactly, so...
                                                 17   But as far as me interacting on the rig,
                                                 18   everything was always fine.
                                                 19       Q. You mentioned safety meetings.
1:36
1:45                                             20   What kind of safety meetings did you attend?
                                                 21       A. Well, the rig has always safety
                                                 22   meetings, so as a third party we need to go
                                                 23   to those. But for every operation that we
                                                 24   start or we're about to start, we need to
                                                 25   have a safety meeting where we will discuss
                                                                     34 (Pages 133 to 136)
                       PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 45 of 53

                                                            137                           139
        1   our JSA, which is the job safety procedures,
        2   get everybody involved so everybody knows
        3   their task and so everybody know what to do,
        4   so we try to avoid any accident or incident.
:57
:45     5        Q. And for that five-day period
        6   would you have one safety meeting at the --
        7   at the beginning of the entire five-day
        8   period, or would you have multiple safety
        9   meetings as -- as the job progressed?
:57
:45    10        A. We will have one safety meeting               1
       11   at the very beginning where we'll talk about
       12   the whole operation, and then in between runs
       13   we'll have a meeting, because the crew will
       14   change in my side and their side, just to let
:57
:46    15   them know we're rigging down, this is how
       16   we're going to do it; we're rigging up, this
       17   is how we're going to do it. So it will be a
       18   continuous process.
       19        Q. And in any of your interactions
:58
:46    20   with any Transocean personnel in April of
       21   2010 did you ever experience anything where
       22   you thought they were doing something that
       23   was unsafe?
       24        A. No, sir.
       25        Q. When you come on the -- on the
                                                            138                           140
        1   ship from the helicopter, do you go through
        2   some kind of orientation at -- at the
        3   beginning of your stay on the ship?
        4       A. When is the first time that you
1:46
 :58    5   visit the rig, yes, and when is -- if you
        6   haven't been to the rig in a long period of
        7   time, you go through an introduction again.
        8       Q. And that involves watching a
        9   video about safety procedures, mustering, and
1:47
 :58   10   so forth, evacuation?                                 1
       11       A. I believe so, yes.
       12


1:47
 :58




:56
:58




                                                                      35 (Pages 137 to 140)
                               PURSUANT TO CONFIDENTIALITY ORDER
         Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 46 of 53

                                                         1                                                            3
            UNITED STATES DISTRICT COURT                      1   APPEARING FOR HALLIBURTON:
                                                              2     Mr. Jerry C. von Sternberg
            EASTERN DISTRICT OF LOUISIANA                           GODWIN, RONQUILLO, PC
                                                              3     1331 Lamar, Suite 1665
     IN RE: OIL SPILL ) MDL NO. 2179                                Houston, Texas 77010
     by the OIL RIG, )                                        4     cayork@godwinronquillo.com
                                                                    jvonsternberg@godwinronquillo.com
     DEEPWATER HORIZON in) SECTION "J"                        5
     the GULF OF MEXICO, )                                    6
     April 20, 2010  ) JUDGE BARBIER                              APPEARING FOR CAMERON:
                                                              7
                 )                                                  Mr. Eric J.R. Nichols
                 ) MAG. JUDGE                                 8     BECK, REDDEN & SECREST
                 ) SHUSHAN                                          515 Congress, Suite 1750
                                                              9     Austin, Texas 78701
                                                                    enichols@brsfirm.com
                                                             10
                                                             11
                                                                  APPEARING ON BEHALF OF M-I SWACO, LLC:
                                                             12
                                                                    Mr. R. Sean Brennan, Jr.
                                                             13     MORGAN, LEWIS, LEWIS & BOCKIUS, LLP
                                                                    1000 Louisiana St., Suite 4000
                                                             14     Houston, Texas 77002-5006
                                                                    sbrennan@morganlewis.com
                                                             15
                                                             16
                                                                  FOR GULF OFFSHORE LOGISTICS, LLC; JNB OPERATING,
            Deposition of DOUGLAS MARTIN, taken at           17   LLC; MONICA ANN, LLC:
                                                             18     Mr. William J. Riviere
     Pan-American Building, 601 Poydras Street, 11th                PHELPS DUNBAR, LLP
     Floor, New Orleans, Louisiana, 70130, on                19     365 Canal Street, Suite 2000
     September 14, 2011.                                            New Orleans, Louisiana 70130
                                                             20     bill.riviere@phelps.com
                                                             21
                                                             22   FOR ISLAND VENTURES/NAUTICAL:
                                                             23     Mr. Robert McClesky, Jr.
                                                                    PHELPS DUNBAR, LLP
                                                             24     365 Canal Street, Suite 2000
                                                                    New Orleans, Louisiana 70130
                                                             25     mccleskb@phelps.com

                                                         2                                                            4
 1          APPEARANCES                                       1   FOR SEACOR HOLDINGS, INC.
 2                                                            2     Mr. Jeremy T. Grabill
     APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:
 3                                                                  WEIL, GOTSHAL & MANGES, LLP
      Mr. Andrew A. Lemmon                                    3     767 Fifth Avenue
 4    LEMMON LAW FIRM, LLC                                          New York, New York 10153
      650 Poydras Street, Suite 2335                          4     jeremy.grabill@weil.com
 5    New Orleans, Louisiana 70130                            5
      andrew@lemmonlawfirm.com
 6                                                                FOR SMIT SALVAGE AMERICAS:
 7                                                            6
     FOR THE PLAINTIFFS BUNDLE B-4                                  Mr. Bijan R. Siahatgar
 8                                                            7     STRASBURGER
      Mr. Lloyd N. Frischhertz                                      1402 McKinney, Suite 2200
 9    FRISHHERTZ, LLC
      1130 St. Charles Avenue
                                                              8     Houston, Texas 77010
10    New Orleans, Louisiana 70130                                  bijan.siahatgar@strasburger.com
      lfrischhertz@frischhertzlaw.com                         9
11                                                           10
12                                                                ALSO PRESENT:
     APPEARING FOR BP, INC.:
13
                                                             11
       Ms. Esty R. Lobovits                                             Mr. Mike Flores - The Videographer
14     KIRKLAND & ELLIS, LLP                                 12
       153 East 53rd Street                                  13
15     New York, New York 10022                                   REPORTED BY:
       esty.lobovits@kirkland.com
16
                                                             14     Tamara Chapman, CSR
17                                                                  Certified Shorthand Reporter
     APPEARING FOR TRANSOCEAN:                               15     State of Texas
18                                                           16
       Ms. Stephany LeGrand                                  17
19     Mr. Daniel Johnson
       SUTHERLAND, ASBILL & BRENNAN, LLP
                                                             18
20     1001 Fannin, Suite 3700                               19
       Houston, Texas 77002-6760                             20
21     stephany.legrand@sutherland.com                       21
       daniel.johnson@sutherland.com                         22
22
23
                                                             23
24                                                           24
25                                                           25

                                                                                                        1 (Pages 1 to 4)
                                        PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 47 of 53

                                            45                                                       47




9:51
9:45




9:52
9:45   1                                         1




9:52
9:45




9:53
9:45




9:
                                            46                                                       48




       1




                                                 17      Q. And the well control -- bringing
                                                 18   it under -- bringing the well under control would
                                                 19   have really been under BP's purview, as you
 :45
 :54                                             20   understood the division between BP and
                                                 21   Transocean?
                                                 22      A. I knew --
                                                 23           MS. LOBOVITS: Object to the form.
                                                 24      A. Yeah. I know that we weren't the well
                                                 25   control people.
                                                                         12 (Pages 45 to 48)
                       PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 48 of 53

                                           133                                                      135




 :48
 :50




 :48
 :50                                             1




 :48
 :50




                                           134                                                      136




                                                  7     Q. Mr. Martin, as someone who's been
                                                  8   involved in significant marine salvage
                                                  9   operations, do you have any -- based on your
1:52
1:49   1                                         10   experience in the response, do you have any
                                                 11   criticism of Transocean personnel that were there
                                                 12   or the actions of the Transocean personnel that
                                                 13   you worked with?
                                                 14     A. No.
1:52
1:49                                             15




1:52
1:50




                                                                     34 (Pages 133 to 136)
                       PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 49 of 53
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

ROSS SKIDMORE                                                                                  May 18, 2011   RENE WHITE MOAREFI, CCR, CRR, CSR


                                                                                                                                          Page 1
                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA

                    IN RE: OIL SPILL BY                                     MDL NO. 2179
                    THE OIL RIG
                    "DEEPWATER HORIZON"                                     SECTION:            J
                    IN THE GULF OF
                    MEXICO, ON APRIL 20,                                    JUDGE BARBIER
                    2010                                                    MAG. JUDGE SHUSHAN




                                                               VOLUME 1


                          Deposition of ROSS SKIDMORE taken in the

               Mardi Gras Room, Pan American Life Center,

               601 Poydras Street, New Orleans, Louisiana,

               on Wednesday, May 18, 2011.



               APPEARANCES:

               ON BEHALF OF THE PLAINTIFFS STEERING
               COMMITTEE:
                   THE LAW FIRM OF COLSON HICKS EIDSON
                   (BY: ERVIN A. GONZALEZ, ESQUIRE)
                   255 Alhambra Circle, Penthouse
                   Coral Gables, Florida 33134




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                  Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters               Facsimile: (505) 525-9109
                                                                                                                             1cb0a27f-7549-497a-bbb3-4fa0d1a9a8c0
                  Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 50 of 53
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported by:

ROSS SKIDMORE                                                                                  May 18, 2011     RENE WHITE MOAREFI, CCR, CRR, CSR

                                                                                           Page 266                                                  Page 268
   1                                                                                                   1   good job of demonstrating the rig safety
                                                                                                       2   features?
                                                                                                       3        A. The crew did an outstanding job
                                                                                                       4   of it.
                                                                                                       5        Q. And I think -- and I read that
                                                                                                       6   you testified that for not knowing what was
                                                                                                       7   about to happen, they had you pretty well
                                                                                                       8   schooled up on the safety features on the
                                                                                                       9   rig?
 10                                                                                                   10        A. And I'll be thankful for that.




                                                                                           Page 267                                                  Page 269




  6            Q. I want to ask you a little bit
  7        about the safety orientation that the
  8        trans -- Transocean crew gave you when you
  9        got on the rig. I think you had some good
 10        things to say about it in your Coast Guard                                                 10
 11        hearing.
 12                 But I wanted to ask you: Did
 13        you feel it was a comprehensive safety
 14        orientation?
 15            A. I did, and I'm glad to see it's
 16        coming up at this presentation as well.
 17            Q. I'm sorry?
 18            A. I said I did find it was a
 19        competent safety orientation, and I'm glad to
 20        see that that point was brought up during
 21        this part of the investigation --
 22            Q. Well, I appreciate that --
 23            A. -- of the well.
 24            Q. -- Mr. Skidmore.
 25                 Would you agree the crew did a
                                                                                                                            68 (Pages 266 to 269)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                        Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                      Facsimile: (505) 525-9109
                                                                                                                                       1cb0a27f-7549-497a-bbb3-4fa0d1a9a8c0
              Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 51 of 53
In Re: OIL SPILL y the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                 Reported by:

BRYAN CLAWSON VOL. II June 7, 2011                                                            THU BUI, CCR, RPR

                                                                                                               Page 439
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                            )         MDL NO. 2179
            by the OIL RIG,                             )
            DEEPWATER HORIZON in                        )         SECTION "J"
            the GULF OF MEXICO,                         )
            April 20, 2010                              )         JUDGE BARBIER
                                                        )
                                                        )         MAG. JUDGE
                                                        )         SHUSHAN




                                        ***************
                                            VOLUME 2
                                        ***************




                       30(b)(6) deposition of
            WEATHERFORD INTERNATIONAL, through its
            representative BRYAN CLAWSON, taken at
            Pan-American Building, 601 Poydras Street,
            11th Floor, New Orleans, Louisiana, 70130,
            on the 7th of June, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                          Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                  Board-Certified Court Reporters      Facsimile:(504) 525-9109
                                                                                                     073614a3-8557-4fd2-8e17-70ddc757b23b
              Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 52 of 53
In Re: OIL SPILL y the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                     Reported by:

BRYAN CLAWSON VOL. II June 7, 2011                                                                             THU BUI, CCR, RPR
                                                                        Page 444                                                       Page 446




                                                                                          25     Q. You got anything bad to say
                                                                        Page 445                                                       Page 447
  1                                                                                       1    about Transocean?
                                                                                          2       A. No, sir.
                                                                                          3       Q. Got anything good to say about
                                                                                          4    Transocean?
                                                                                          5       A. Yes.
                                                                                          6       Q. We'll leave it at that.




                                                                                                                 3 (Pages 444 to 447)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                           Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                 Board-Certified Court Reporters                         Facsimile:(504) 525-9109
                                                                                                                         073614a3-8557-4fd2-8e17-70ddc757b23b
Case 2:10-md-02179-CJB-DPC Document 4457-27 Filed 11/01/11 Page 53 of 53




                        WITNESS CERTIfICATE



          If   BRYAN CLAWSON, have read or have had the

          foregoing testimony read to me and hereby certify that

          it   is   a     true and correct    transcription    of   my

          testimony I     with the   exception    of   any    attached

          corrections or changes.




    (Date Signed)
                                     -~t~
                                        (Signature)



    ___Vsigned with corrections as attached.

               Signed with no corrections noted.
